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                                               DEFENDANTS - GROUP D
     PayPal                PayPal            Email Address(es)/Domains        Bank Account(s)           GROUP D
  Account Name         Account Number          Associated with PayPal  Associated with PayPal Account
                                                      Account
                                           592536808@qq.com
                                           qianzhifei@hotmail.com
                                           seoeasy@hotmail.com
Ren Zhi Tong                               shoppingcartpay@hotmail.com                                  Group D
Zhang Feng lan                             bestypays@live.com                                           Group D
Ren Zhi Tong                               okpays@live.com                                              Group D
Ren Zhimin                                 oksales2012@hotmail.com                                      Group D
                                           okonsale2012@hotmail.com
Chen Tai shan                              shoppaysment@live.com                                        Group D
Allen Porter (Carley                       payaccounts@live.com                                         Group D
Mowatt Inc)                                51C88575GU174691N
                                           @dcc.paypal.com
                                           jiessie@vip.qq.com
Yu Hang                                    secureonlinepay@hotmail.com                                  Group D
Yu Hang                                    greenpayaccounts@hotmail.co                                  Group D
                                           m
Ren Guoying                                shoppingpaysment@live.com                                    Group D
Song Yong Jin                              peelaccepts@hotmail.com                                      Group D
Ren Zhi Min                                payonlines2011@hotmail.com                                   Group D
Ren zhi min                                payonlines01@hotmail.com                                     Group D


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                                          DEFENDANTS - GROUP D
    PayPal            PayPal           Email Address(es)/Domains        Bank Account(s)           GROUP D
 Account Name     Account Number         Associated with PayPal  Associated with PayPal Account
                                                 Account
᫓                                     navypays@hotmail.com                                        Group D
Zhang Feng Chun                       navypays@live.com
㞵                                     quickonlinepays@live.com                                    Group D
Zhang Feng Yu
Huang Xiuzhu                          paysmentsaccount@live.com                                   Group D
Ren Qing Huang                        securespay@hotmail.com                                      Group D
Ren Zhi Tong                          beauty-onlines@hotmail.com                                  Group D
᫓                                     onlinepay2011@hotmail.com                                   Group D
Zhang Feng Chun
Xie Han Zhou                          securetypaysline@live.com                                   Group D
Lai Li Ying                           safe-pays2012@live.com                                      Group D
                                      safeonlinepay@live.com
                                      safeonlinepay@hotmail.com
Chen Qing Guo                         rinazxpays@hotmail.com                                      Group D
                                      kavenpays@hotmail.com
                                      xianxpays@hotmail.com
Chen Qing Guo                         payssmile@hotmail.com,                                      Group D
                                      smallpays@hotmail.com,
                                      payalways2012@hotmail.com,
                                      wellspays@live.com


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                                         DEFENDANTS - GROUP D
    PayPal           PayPal            Email Address(es)/Domains        Bank Account(s)           GROUP D
 Account Name    Account Number          Associated with PayPal  Associated with PayPal Account
                                                Account
Ren Qing Huang                       paywell2012@hotmail.com                                      Group D
Catina Johnson                       customersupports@live.com                                    Group D
                                     pcmarketlive.com
Jianhan Xie                          paysment2011@hotmail.com                                     Group D
Zhi JieRen                           accspays2013@live.com                                        Group D
Ren Zhi Jie                          diytradecenter@live.com                                      Group D
Qunhong Ke                           onlinepayQH@hotmail.com                                      Group D
Ren Qing Huang                       efashionbuy@hotmail.com                                      Group D
Lin Mei Ying                         itempays@live.com                                            Group D
Ren Zhi Min                          shoppingpayonline@live.com                                   Group D
Wagner Chris                         jiessie@vip.qq.com                                           Group D
Lin Mei Ying                         onlinepayup@hotmail.com                                      Group D
Ꮼ㯪                                   azkxxpays@live.com                                           Group D
Li Ning                              kavenpays@hotmail.com
                                     xianxpays@hotmail.com
                                     convenientpays@hotmail.com
                                     fasipays@live.com
                                     itemspay@hotmail.com
                                     payitems@hotmail.com
⨾                                    payssites@live.com                                           Group D
                                     honorpays@hotmail.com

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                                                                                                            Case 1:13-cv-08012-CM-DCF Document 72-12 Filed 02/14/18 Page 3 of 100
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                                          DEFENDANTS - GROUP D
     PayPal           PayPal            Email Address(es)/Domains        Bank Account(s)           GROUP D
  Account Name    Account Number         Associated with PayPal   Associated with PayPal Account
                                                Account
Lin Mei Ying
Zhang Feng Lan                        paylinesfast@live.com,                                       Group D
                                      payjumps@live.com
Ren Qing Huang                        sanpays@live.com                                             Group D
ᖹ                                     quickpays@live.com                                           Group D
Zhang Wei Ping
Yu Jie                                addtocart@live.com                                           Group D
Larry Rhodes                                                                                       Group D


                                      dsmrecap.com/de/paypal/standa
                                      rd/success/
ᵾ⦹                                                                                                 Group D
li yu hong


                                      cheapsoccercleatss.com
Timothy Saulmon                                                                                    Group D
                                      dsmrecap.com
ᔰ἞                                    footballsoccerjerseys.com                                    Group D


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                                         DEFENDANTS - GROUP D
     PayPal          PayPal            Email Address(es)/Domains        Bank Account(s)            GROUP D
  Account Name   Account Number         Associated with PayPal   Associated with PayPal Account
                                               Account
Ou Kai Sen
ᆻࣷ                                                                                                Group D
Song yong jin
                                     dsmrecap.com
Zhang fengchun                       hottershoesuk.com                                            Group D
Ren Zhi jie                          acceptpays@hotmail.com                                       Group D
                                     similarpays@hotmail.com
⿰⨐                                   kakipays@hotmail.com                                         Group D
Huang Xiu Zhu
ࣷᆻ                                   xunapays@hotmail.com                                         Group D
Song Yong Jin
哾ᆱ                                   safspays@live.com                                            Group D
Li Ning
                                                                         TOTAL AWARD (Group D)    $66.1 million




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                                        DEFENDANTS - GROUP E
     PayPal          PayPal           Email Address(es)/Domains        Bank Account(s)            GROUP E
  Account Name   Account Number         Associated with PayPal  Associated with PayPal Account
                                               Account
Guohong Zheng                        youyan1990@yahoo.com                                        Group E


Zhao Min Gui                         mingui123@hotmail.com                                       Group E
Huang Jintian                        linkcampus111@yahoo.com                                     Group E
                                     buybest365@yahoo.com
                                     bestbuynike@yahoo.com
                                     ecplaza999@163.com
                                     linksinowears@yahoo.com
                                     ineednikeshoes@hotmail.com
                                     usajumpman@yahoo.com
                                     nikeonlineservice@gmail.com
                                     kungfumovie999@yahoo.com
Meilian Huang                        linajiao1990@yahoo.com                                      Group E


⌔                                    goingpop@hotmail.com                                        Group E
Chen Wei Zhu
Xu Linying                           convenienceservice@gmail.co                                 Group E
                                     m
Yu Xian Wu                           jordanshoescity@hotmail.com                                 Group E

                                                        11
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                                          DEFENDANTS - GROUP E
     PayPal          PayPal           Email Address(es)/Domains         Bank Account(s)            GROUP E
  Account Name   Account Number          Associated with PayPal  Associated with PayPal Account
                                                Account
                                     tonycheaps@yahoo.com
Phillip Bell                         Phillip@hotmail.com                                          Group E
Jiang Junying                        wholesaleairjordan@yahoo.co                                  Group E
                                     m
Phillip Bell                         Phillip@hotmail.com                                          Group E
Chen Minzhong                        fallenyinong@yahoo.com                                       Group E



Lin Meiqin                           youyanhg@yahoo.com                                           Group E


Huang Zhi Zhen                       48058406@qq.com                                              Group E
xu linying                           convenienceservice@gmail.co                                  Group E
                                     m
᷇                                                                                                 Group E
Lin Hua Cong                         teeblog@qq.com
ԉ                                    bestcnshoes.com (FOP, not                                    Group E
Chen Li Xian                         active); www.shoxuk.com
                                     (armor)


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                                         DEFENDANTS - GROUP E
     PayPal          PayPal            Email Address(es)/Domains        Bank Account(s)            GROUP E
  Account Name   Account Number         Associated with PayPal   Associated with PayPal Account
                                               Account
⠅㤡                                                                                                Group E
Huang Yan Ying                       lqshoes.com
jiang junying                        usajumpman.com                                               Group E
YU XIAN WU                           usajumpman.com,                                              Group E
                                     www.bestbuynike.com,
                                     www.jordanshoesusa.com
huang jintian                        usajumpman.com                                               Group E
                                                                         TOTAL AWARD (Group E)    $87.9 million




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                                         DEFENDANTS - GROUP G
     PayPal           PayPal            Email Address(es)/Domains        Bank Account(s)            GROUP G
  Account Name    Account Number         Associated with PayPal   Associated with PayPal Account
                                                Account
Huang Yamei                           limei53@hotmail.com                                          Group G


Wu Ziqiang                            ziqiang53@163.com                                            Group G
                                      ziqiang53@hotmail.com
                                      manager@occidenttrade.com
                                      pt3c@occidenttrade.com
                                      sales@occidenttrade.com
㔠                                     onlinesales21@hotmail.com                                    Group G
Huang Jin Huang




                                                                          TOTAL AWARD (Group G)    $74.1 million




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                                                                                                                   Case 1:13-cv-08012-CM-DCF Document 72-12 Filed 02/14/18 Page 9 of 100
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                                         DEFENDANTS - GROUP H
     PayPal          PayPal           Email Address(es)/Domains        Bank Account(s)            GROUP H
  Account Name   Account Number         Associated with PayPal  Associated with PayPal Account
                                               Account
⋹⍆                                   xlq2012108@gmail.com                                        Group H
Xia Ling Qin

Deng Dong Fang                       jack20121130@gmail.com                                      Group H
ὒ                                    lky2012104@gmail.com                                        Group H
Liu Kai Yang

ಇᮽ                                   classiczopim@gmail.com                                      Group H
Yang Jun Jie
⹡                                    newgoodsexplore@gmail.com                                   Group H
Liu Zhen Hu
ᚿὥ                                   placeanorder@live.com                                       Group H
Liu Zhi Hong
                                                                         TOTAL AWARD (Group H)   $18.5 million




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                                         DEFENDANTS - GROUP I
    PayPal           PayPal           Email Address(es)/Domains        Bank Account(s)            GROUP I
 Account Name    Account Number         Associated with PayPal  Associated with PayPal Account
                                               Account
ಖᅜ                                   sonyaweeks98@hotmail.com                                    Group I
Wang Bao Guo
Lin Jun da                           joshmicane@gmail.com                                        Group I


⣲⍆                                   joeleesa98@hotmail.com                                      Group I
Yang Su Qin

Sun Jin                              admjones98@hotmail.com                                      Group I
㣜                                                                                                Group I
Wang Xin Fen                         onlyalice@hotmail.com
∋ ‫ݳݹ‬                                                                                             Group I
Mao Guang Yuan                       monicayy68@hotmail.com
zhuo zhen                            amy_zsr@hotmail.com                                         Group I
                                                                         TOTAL AWARD (Group I)   $53 million




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                                                                                                               Case 1:13-cv-08012-CM-DCF Document 72-12 Filed 02/14/18 Page 11 of 100
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                                          DEFENDANTS - GROUP J
     PayPal           PayPal           Email Address(es)/Domains        Bank Account(s)            GROUP J
  Account Name    Account Number         Associated with PayPal  Associated with PayPal Account
                                                Account
Chen JiaSheng                         xdffd232@hotmail.com                                        Group J



Chen Jinxing                          jisehe212@163.com                                           Group J
㔠                                     linda.ch26@hotmail.com                                      Group J
Chen Jin Feng                         nikekickcoo.com
ChenYuanzhuo                          ceddd23@163.com                                             Group J
Chen Longfei                          aidon109@hotmail.com                                        Group J


ᯘᐆ⌔                                   jenneyzhenlin@gmail.com                                     Group J
Lin Bao Zhu
㭑 Ṳࣷ                                                                                              Group J
Cai Gui Yong                          sellairjordan23.com
㢟                                                                                                 Group J
Huang Han Liang                       1783149795@qq.com
ᔪ                                                                                                 Group J
Zheng Jian Fen                        zhengjf10@163.com
Jim Fricker                           lebron9dunkman.com/ipn_main                                 Group J

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                                        DEFENDANTS - GROUP J
    PayPal           PayPal           Email Address(es)/Domains        Bank Account(s)            GROUP J
 Account Name    Account Number         Associated with PayPal  Associated with PayPal Account
                                                Account
                                     _handler.php
ᇇ                                    namebrand123@hotmail.com                                    Group J
Zheng Wen Zong
qian shuying                         shuying9410@gmail.com                                       Group J
JACK TABOR                           j_tabor76@yahoo.com                                         Group J
qian xiangong                        urbanclothing01@yahoo.com.c
                                     n                                                           Group J
㭑Ṳ                                   a.starks1979@gmail.com                                      Group J
Cai Gui Lan
㣣                                    sjack.1368@gmail.com                                        Group J
Xu Min Fang
ᘇ                                                                                                Group J
Zheng Zhi Hong                       steven.wawj@gmail.com
Ṳࣷ 㭑                                 cx3139@yahoo.com.cn                                         Group J
Gui Yong Cai
                                                                         TOTAL AWARD (Group J)   $85.4 million




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                                                                                                                 Case 1:13-cv-08012-CM-DCF Document 72-12 Filed 02/14/18 Page 13 of 100
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                                         DEFENDANTS - GROUP K
     PayPal          PayPal            Email Address(es)/Domains         Bank Account(s)            GROUP K
  Account Name   Account Number          Associated with PayPal   Associated with PayPal Account
                                                 Account
Li Haidao                            lihaidao2002@163.com,                                         Group K
                                     510227969@qq.com
ứྥ                                   foreverseller889@hotmail.com                                  Group K
Wang Xiang
ᮤ                                    lihaidao2002@163.com                                          Group K
Li Hai Dao
                                                                         TOTAL AWARD (Group K)     $59 million




                                                        19
                                                                                                                 Case 1:13-cv-08012-CM-DCF Document 72-12 Filed 02/14/18 Page 14 of 100
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                                         DEFENDANTS - GROUP L
     PayPal          PayPal           Email Address(es)/Domains        Bank Account(s)            GROUP L
  Account Name   Account Number         Associated with PayPal  Associated with PayPal Account
                                                Account
⬌⚽                                   bestsevie2011@gmail.com                                     Group L
Hu Xiu Bi


⬌ᅜῧ                                  tiantiansell@gmail.com                                      Group L
Hu Guo Tian

Wu Xiuyan                            yaosipi@gmail.com                                           Group L




⬌ⴍ                                   today0212@gmail.com                                         Group L
Hu Li Ping



ྻ㏦ྔ                                  sobypal@gmail.com                                           Group L
Wu Song Ye
⬌௝                                   whugo2011@gmail.com                                         Group L


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                                                                                                            Case 1:13-cv-08012-CM-DCF Document 72-12 Filed 02/14/18 Page 15 of 100
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                                            DEFENDANTS - GROUP L
     PayPal             PayPal            Email Address(es)/Domains        Bank Account(s)            GROUP L
  Account Name      Account Number         Associated with PayPal   Associated with PayPal Account
                                                  Account
Hu Xian Di
ᯘ㟷                                      linchangqing2009@yahoo.com.                                  Group L
Lin Zhang Qing                          cn
                                        shoesspring2003@hotmail.com
Lin Changqing                           linchangqing7602@yahoo.com.                                  Group L
                                        cn
                                        shoesspring@hotmail.com
                                        linchangqing2009@yahoo.com.
                                        cn
ᚤ                                       weixiaottqwe@hotmail.com                                     Group L
Zhang Wei

ᯘ⚽ⱥ                                     sogoodcomcn@gmail.com                                        Group L
Lin Xiu Ying

ᰓᯘ                                      kelinhai@hotmail.com                                         Group L
Ke Lin Hai                              sell-topbrand@hotmail.com
(a/k/a Linhai Ke)
Chen Guo Jing                           wiles@35zh.com                                               Group L
⿁㏄᫓                                     sophieyuan3448@sina.com                                      Group L


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                                                                                                                Case 1:13-cv-08012-CM-DCF Document 72-12 Filed 02/14/18 Page 16 of 100
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                                           DEFENDANTS - GROUP L
     PayPal            PayPal           Email Address(es)/Domains         Bank Account(s)            GROUP L
  Account Name     Account Number          Associated with PayPal  Associated with PayPal Account
                                                  Account
Yuan Ying Chun                         sophieyuan3448@yahoo.com.c
                                       n
                                       mylove198101@hotmail.com
                                       shoescapsxyz.com
Bonny Loposser                         bonnjonl@yahoo.com                                           Group L
                                       wholesalejerseys@ec8j.com
Robert Smith                           jerseys@hotmail.com                                          Group L
Leo Paquette                           lpaquette1@cox.net                                           Group L
                                       wholesalesquare@hotmail.com
⬌⚽                                     xiaganmeinv@gmail.com                                        Group L
Hu Xiu Feng                            goodnewscaon@gmail.com

Creshnaw, Andrew                       hiphopiop.ru                                                 Group L
                                       interscopedemo@gmail.com
Murray, John                           bestjerseysgo.com/                                           Group L
఍                                                                                                   Group L
Yang Hui Xin


                                       icenhljersey.com


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                                                                                                               Case 1:13-cv-08012-CM-DCF Document 72-12 Filed 02/14/18 Page 17 of 100
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                                            DEFENDANTS - GROUP L
     PayPal             PayPal            Email Address(es)/Domains        Bank Account(s)            GROUP L
  Account Name      Account Number         Associated with PayPal   Associated with PayPal Account
                                                  Account
  ⋢                                                                                                  Group L
ᑑ
Wen Yu Shou
(Cai LiMing)                            selloffmlb.com
Zheng, Lanying                          maxdny.com(real)                                             Group L
                                        www.tradenny.com(shell)
Jianyu Tang,                            maxdny.com                                                   Group L
chen, weifang                           274024654@qq.com                                             Group L
Woodson, Keion                          shoesbagonsale@hotmail.com                                   Group L
Youncofski, Conor                       shoesbagonsale@hotmail.com                                   Group L
Ding, Yi Na                             yingsoccer.com                                               Group L
⚟                                                                                                    Group L
Zhang Jia Fu                            bestjerseys88@gmail.com
᪋                                                                                                    Group L
Shi Shao Lian                           jersey-777.com
᱇                                                                                                    Group L
Liu Gui Lan                             jersey-777.com
chen, mingjin                           airmaxsshop.co.uk                                            Group L
lin, fengyun                            maxvd.com/                                                   Group L
zheng, lanying                          maxvd.com/                                                   Group L

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                                                                                                                Case 1:13-cv-08012-CM-DCF Document 72-12 Filed 02/14/18 Page 18 of 100
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                                         DEFENDANTS - GROUP L
    PayPal           PayPal            Email Address(es)/Domains        Bank Account(s)            GROUP L
 Account Name    Account Number         Associated with PayPal   Associated with PayPal Account
                                               Account
රඖ                                                                                                Group L
Wang Bing Yuan                       replicajerseysoccer.com
ୡᮽ                                   jerseyscommunity@hotmail.co                                  Group L
Zheng Shi Jie                        m
han, defang                          reebokdepot@hotmail.com                                      Group L
chen, suzhen                         reebokdepot@hotmail.com                                      Group L
ᘓⱥ                                   cheaps-b2b.com(shell)                                        Group L
Tang Jian Ying                       www.nikedey.com/
፽                                                                                                 Group L
Zheng Yang Mei                       shoxvs.com(shell)
chen, weifang                        jerseysmember@hotmail.com                                    Group L
⏕                                    jerseyswholesaleauthentic.com/                               Group L
Shi Sheng Xu                         37-c-Contact-Us/
ᢇᘓᒣ                                                                                               Group L
Fu Jian Shan                         nfljersey2010@yahoo.com
㔠                                                                                                 Group L
Zheng Jin Tao                        nikepuma-1@hotmail.com
ⱥ                                                                                                 Group L
Zheng Lan Ying                       nikepuma-2@hotmail.com


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                                                                                                             Case 1:13-cv-08012-CM-DCF Document 72-12 Filed 02/14/18 Page 19 of 100
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                                         DEFENDANTS - GROUP L
     PayPal          PayPal            Email Address(es)/Domains        Bank Account(s)            GROUP L
  Account Name   Account Number         Associated with PayPal   Associated with PayPal Account
                                               Account
₫                                                                                                 Group L
Pan Bing Huang                       sin.tong@hotmail.com
Changqing Lin                        shoesspring@hotmail.com                                      Group L
Xiaoqiong wu                         jersey-777.com                                               Group L
ዴಇ                                                                                                Group L
Wang Ru Jun                          icenhljersey.com
                                                                         TOTAL AWARD (Group L)    $25.9 million




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                                                                                                                  Case 1:13-cv-08012-CM-DCF Document 72-12 Filed 02/14/18 Page 20 of 100
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                                        DEFENDANTS - GROUP M
     PayPal          PayPal           Email Address(es)/Domains         Bank Account(s)           GROUP M
  Account Name   Account Number         Associated with PayPal   Associated with PayPal Account
                                                Account
ⰾ                                    globaltradeclubs@gmail.com                                   Group M
Yan Li Fang                          nikefreerunsfactory.com
                                                                TOTAL AWARD (Group M)             $22.5 million




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                                                                                                                  Case 1:13-cv-08012-CM-DCF Document 72-12 Filed 02/14/18 Page 21 of 100
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                                          DEFENDANTS - GROUP N
     PayPal           PayPal            Email Address(es)/Domains        Bank Account(s)            GROUP N
  Account Name    Account Number          Associated with PayPal  Associated with PayPal Account
                                                 Account
Chen Zusong                           trendslandy@yahoo.com                                        Group N


Zhuo Tie Ning                         ningtie@yahoo.com                                            Group N


Huang Jian Ping                       Valdiviacaa@gmail.com                                        Group N

Chen Qing Wen                         shellycorall@yahoo.com                                       Group N


Jian Ping Huang                       Valdiviacaa@gmail.com                                        Group N
Zusong Chen                           shellyesilver.com(fop.clean)                                 Group N
                                      www.freerunzone.com
                                      trendslandy@yahoo.com
Tie Ning Zhuo                         ningtie@yahoo.com                                            Group N
Qing Wen Chen                         shellycorall@yahoo.com                                       Group N
                                                                          TOTAL AWARD (Group N)    $21 million




                                                         27
                                                                                                                 Case 1:13-cv-08012-CM-DCF Document 72-12 Filed 02/14/18 Page 22 of 100
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                                         DEFENDANTS - GROUP O
     PayPal          PayPal            Email Address(es)/Domains        Bank Account(s)           GROUP O
  Account Name   Account Number          Associated with PayPal  Associated with PayPal Account
                                                 Account
ᚎ㔠ῧ                                  terrycn@live.cn                                              Group O
Xu Jin Tian                          micshoes@hotmail.com
                                     elinsale@gmail.com
                                     joz.christian@gmail.com
                                     uggnet@hotmail.com
ፍ                                    Cecilia-meme@hotmail.com,                                    Group O
Chen Bi Juan                         Beatrice-barbar@hotmail.com
ᬛ                                    martinpettersson86@                                          Group O
Xu Zhi Qiang                         hotmail.com
ᚿ                                    yoyoshoes3@gmail.com,                                        Group O
Yu Zhi Qiang                         coctrade@yahoo.com,
                                     pay@australiauggshop.com
                                     yoyoshoes3@gmail.com
                                     CVV2008@hotmail.com
                                     trade1848@yahoo.com
                                     ccv2008@hotmail.com
                                     ccvgoods@hotmail.com
                                     tradecn86@yahoo.com
                                     cnpaypal@foxmail.com
                                     terrycn@live.cn


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                                          DEFENDANTS - GROUP O
     PayPal           PayPal           Email Address(es)/Domains           Bank Account(s)            GROUP O
  Account Name    Account Number         Associated with PayPal     Associated with PayPal Account
                                                 Account
ᚎୡ                                    cheapairjordans-mart.com                                       Group O
Xu Shi Yi                             johnxu1310@hotmail.com
⫝̸ᑠⴍ                                   cheaperjersey2013.com                                          Group O
Xiao Xiao Ping                        Rachelmeris@hotmail.com
Ụ⵷⵷                                   basketballmart24.com                                           Group O
Jiang Rong Rong                       Irmare2341@hotmail.com
ᚎ                                     cheapairjordansshoes2013.com                                   Group O
Xu Li Li                              Wallislevel@hotmail.com
Huang Hui                             cheapsportsjerseys2013.com                                     Group O
                                      Eleanore147@hotmail.com
ῄ⌋                                    cheapsportsjerseys2013.com                                     Group O
Huang Shu Zhen                        Susiesuke@hotmail.com
                                                                   TOTAL AWARD (Group O)             $26.8 million




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                                         DEFENDANTS - GROUP S
    PayPal           PayPal           Email Address(es)/Domains        Bank Account(s)            GROUP S
 Account Name    Account Number         Associated with PayPal  Associated with PayPal Account
                                               Account
ྻ㏦ྔ                                  sobypal@gmail.com                                           Group S
Wu Song Ye
ᮤ⋢ᱵ                                  yumeilili62@hotmail.com                                     Group S
Li Yu Mei
Tingting Xia                         wienfieldtibbs@126.com                                      Group S
Lizhu Ma                             nancycainly@yahoo.com                                       Group S
Qin Yao                              johondiller@yahoo.com                                       Group S
Shengze Yang                         mindyevans@163.com                                          Group S
Hang Chen                            jameshill13@                                                Group S
                                     hotmail.com
Zheng Yuefen                         PatriciaPlatt707@yahoo.com                                  Group S
Yanqing Zhu                          linneahedgecock@yahoo.com                                   Group S
ChangYong Yang                       vaildcalm@hotmail.com                                       Group S
⨾ⱥ                                   supplyjerseys.us                                            Group S
Gao Mei Ying                         2010gaomeiying@gmail.com

Zheng Limei                          zhenglimeipp@gmail.com                                      Group S


Li Yayun                             nitatimberlake@163.com                                      Group S


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                                        DEFENDANTS - GROUP S
    PayPal          PayPal           Email Address(es)/Domains        Bank Account(s)            GROUP S
 Account Name   Account Number          Associated with PayPal Associated with PayPal Account
                                               Account
                                    victoriahoupter@yahoo.com                                   Group S
Shijie chen
ⰼⱥ                                  greenville29649@gmail.com                                   Group S
Gao Hua Ying                        gieyel.com(offline)
                                    www.ahdhf.com(offline)
                                    www.supplyjerseys.us(BC,need
                                    PW)
Yang Rong'e                         robertdostt@yahoo.com                                       Group S
Guo Chunpeng                        jeffhamilton668@gmail.com                                   Group S
Wu Yan                              onlinestoresunglasses@gmail.c                               Group S
                                    om
Wang Fulong                         luciapatell@yahoo.com                                       Group S
Liu Meihua                          stevensalcedos@yahoo.com                                    Group S
Chen Xicheng                        troyblume@hotmail.com                                       Group S
Zhao Zeying                         daviddunn813@yahoo.com                                      Group S
Yang Haiqi                          ChrisGagne42@yahoo.com                                      Group S
Li Renfen                           renfen86@gmail.com                                          Group S
zhang guofu                         ericaceballose@yahoo.com                                    Group S
ྻ஑ጒ                                 jiumeiwu53@gmail.com                                        Group S
Wu Jiu Mei                          supplyjerseys.us
                                    www.nfl-cheap-jerseys.com

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                                         DEFENDANTS - GROUP S
    PayPal           PayPal           Email Address(es)/Domains        Bank Account(s)            GROUP S
 Account Name    Account Number         Associated with PayPal  Associated with PayPal Account
                                                Account
li yangyang                          brandandelfino@gmail.com                                    Group S
Tong Zhenggang                       BrookeSprang707@yahoo.com                                   Group S

Huang Xiaoqiu                        helendesotell@163.com                                       Group S
Weng Yanchun                         maryannrodriguez@126.com                                    Group S
Lin Qingfeng                         farrokhnejadlotfi@yahoo.com                                 Group S
Zhang Shan                           nancy20easy@yahoo.com                                       Group S
Huang Huayou                         MelissaBartell07@yahoo.com                                  Group S
Shen Qingshui                        ellalynn16@gmail.com                                        Group S
Yuan Xiaoyan                         rebeccasansberry@yahoo.com                                  Group S
Zhong Zhenning                       hattiknoppot@yahoo.com                                      Group S
Lv Huiwu                             michaelwindebanker@yahoo.c                                  Group S
                                     om
Cai Fengwei                          dannynelms@126.com                                          Group S
Luo Qiuhua                           atthewconney@hotmail.com                                    Group S
⌔                                    2010gaohaizhu@gmail.com                                     Group S
Gao Hai Zhu                          supplyjerseys.us
                                     nflreebokjerseys.com
                                     www.ahdhf.com(shell)
Guofu zhang                          ericaceballose@yahoo.com                                    Group S


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                                         DEFENDANTS - GROUP S
     PayPal          PayPal           Email Address(es)/Domains        Bank Account(s)            GROUP S
  Account Name   Account Number          Associated with PayPal Associated with PayPal Account
                                                Account
                                     discountjerseys.us

Xiaosi fu                            nfljerseyswebsite.com                                       Group S
                                     williamkinnaman@yahoo.com
Meiyan liu                           butshoppingonline@gmail.com                                 Group S
                                     butshoppingonline@gmail.com
ಇ                                    cheapsportsjerseys.us                                       Group S
Chen Jun Xian                        cheap6688@hotmail.com
Renfen Li                            supplyjerseys.us                                            Group S
                                     www.nfljersey.us
                                     oaocad.com
                                     renfen86@gmail.com
                                                                         TOTAL AWARD (Group S)   $12.2 million




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                                         DEFENDANTS - GROUP V
    PayPal           PayPal            Email Address(es)/Domains        Bank Account(s)           GROUP V
 Account Name    Account Number          Associated with PayPal  Associated with PayPal Account
                                                Account
ఴወᮥ                                  cheapb2b@yahoo.cn                                            Group V
Zheng Jin Hui                        nikepumaaa@yahoo.cn
                                     bagssell@yahoo.cn
                                     etopshop1@hotmail.com
                                     bestbrand51@hotmail.com
                                     brand-ol88@hotmail.com
                                     fashion777-2@hotmail.com
                                     inttopshop1@hotmail.com
                                     trade381@hotmail.com
                                     brand-ol77@hotmail.com
                                     etopshop3@hotmail.com
                                     branngddd@hotmail.com
                                     trade382@hotmail.com
㔠↷                                   etopshop1@hotmail.com                                        Group V
Zheng Jin Zhao                       brand-ol88@hotmail.com
                                     inttopshop1@hotmail.com
                                     brand-ol77@hotmail.com
                                     bestbrand51@hotmail.com
                                     trade381@hotmail.com
                                     brand-ol66@hotmail.com
                                     enikeshop@hotmail.com

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                                          DEFENDANTS - GROUP V
    PayPal            PayPal            Email Address(es)/Domains        Bank Account(s)           GROUP V
 Account Name     Account Number          Associated with PayPal  Associated with PayPal Account
                                                 Account
                                      brand511@hotmail.com
                                      trad381@hotmail.com
                                      inttopbrand@hotmail.com
Weng Tian Rong                        brggingg@hotmail.com                                         Group V
                                      inttopshop@hotmail.com
                                      inttopshop@hotmail.com
⩝㟷ப                                   topbrand-ol@hotmail.com                                      Group V
Weng Qing Yun                         etopshop5@hotmail.com
                                      brand512@hotmail.com
                                      trade383@hotmail.com
                                      brandol55@hotmail.com
                                      etopshop2@hotmail.com
                                      bragggdd@hotmail.com
                                      echeapshoes.com
                                      www.cheaperol.com
                                      www.jeansb2b.com(no
                                      violation)
Chen Min                              topbrarig@hotmail.com                                        Group V
⩝ᛅ                                    980965093@qq.com
Weng Qing Zhong                                                                                    Group V


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                                        DEFENDANTS - GROUP V
    PayPal           PayPal           Email Address(es)/Domains        Bank Account(s)            GROUP V
 Account Name    Account Number         Associated with PayPal  Associated with PayPal Account
                                               Account
Ỉ                                    740120070@qq.com
Chen Shui Lian                                                                                   Group V
ஂᴆ                                   961393468@qq.com
Zhang Jiu Chu                                                                                    Group V
Ỉ                                    trade381@hotmail.com
Chen Shui Lian                                                                                   Group V
                                                                         TOTAL AWARD (Group V)   $65 million




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                                       DEFENDANTS - GROUP W
    PayPal          PayPal           Email Address(es)/Domains        Bank Account(s)           GROUP W
 Account Name   Account Number         Associated with PayPal  Associated with PayPal Account
                                              Account
ᯘ⚽ⱥ                                 NianHua.T@gmail.com                                         Group W
Nianhua Tang




ᯘ೺                                  linjian891022@gmail.com                                     Group W
Lin Jian
Tang nianhua                        NianHua.T@gmail.com                                         Group W
Wu Qingfeng                         efashionbiz@hotmail.com                                     Group W
                                    nike-factorystore.com
                                                                        TOTAL AWARD (Group W)   $30 million




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                                 DEFENDANTS - GROUP NO GROUP
     PayPal               PayPal       Email Address(es)/Domains        Bank Account(s)
  Account Name        Account Number     Associated with PayPal  Associated with PayPal Account
                                                Account
Ụ                                     janespanich@hotmail.com
Jiang Lili
(a/k/a Jiang Li Li)

ᯘ                                         toplinwei@yahoo.cn
Lin Wei
(Suchun Zheng)


Kronebusch Ron                            accountlocked@godaddy.com
(Tiffany Jarvis)




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                      WESTERN UNION/MONEYGRAM PAYEES

                                 DEFENDANTS - GROUP F
    Name         Associated Email Address(es)       Associated Websites                     Group
Yurong Huang   ninetytradestore@gmail.com     www.freeruns20.com                          Group F




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                                                                                                    Case 1:13-cv-08012-CM-DCF Document 72-12 Filed 02/14/18 Page 34 of 100
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                               DEFENDANTS - GROUP I
     Name      Associated Email Address(es)       Associated Websites                     Group
Surong Zhu   nikefreeonline2012@hotmail.com www.newfreeshoes.com                        Group I
                                            www.newcomeshoes.com
                                            www.2014newshoes.com
Suqin Yang   nikefreeonline2012@hotmail.com www.newfreeshoes.com                        Group I




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                               DEFENDANTS - GROUP J
    Name        Associated Email Address(es)       Associated Websites                     Group
Wanlu Huang   lindajerseys@gmail.com         www.linda-jerseys.com                       Group J




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                                 DEFENDANTS - GROUP L
      Name        Associated Email Address(es)       Associated Websites                     Group
Jianying Chen   lowjerseys@hotmail.com         www.great-wholesalejersyes.net              Group L
Zhao Jun Pu     lowjerseys@hotmail.com and     www.great-wholesalejersyes.net              Group L
                wholesalejersysx@gmail.com     www.for-jerseys.biz
Jinying Ke      shoescapsxyz.com@gmail.com     www.shoecapsxyz.com                         Group L
Yong Lin Lin    shoescapsxyz.com@gmail.com     www.shoecapsxyz.com                         Group L
Zhengyu Lin     shoescapsxyz.com@gmail.com     www.shoecapsxyz.com                         Group L
Shurong Lin     wholesale-square@hotmail.com   www.buyshoeclothing.com                     Group L
                usherfashion@hotmail.com
                tradingspring@hotmail.com
                jordans-china@hotmail.com
                wipwholesale2012@yahoo.com.cn




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                             DEFENDANTS - GROUP O
     Name     Associated Email Address(es)       Associated Websites                     Group
Shiyu Xu    airmax-shop@hotmail.com        www.cheapnikeairmax-mart.com                Group O




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                                                                                                 Case 1:13-cv-08012-CM-DCF Document 72-12 Filed 02/14/18 Page 38 of 100
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                                 DEFENDANTS - GROUP S
     Name         Associated Email Address(es)       Associated Websites                      Group
JianXian Zheng   butshopping@hotmail.com       www.cheapjerseysbusiness.com                 Group S
YanFen Weng      butshopping@hotmail.com       www.cheapjerseysbusiness.com                 Group S




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                                DEFENDANTS - GROUP V
    Name         Associated Email Address(es)       Associated Websites                     Group
Meixia Zheng   inttopshop@hotmail.com         www.shopyny.com                             Group V




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                                                                                                    Case 1:13-cv-08012-CM-DCF Document 72-12 Filed 02/14/18 Page 40 of 100
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         EXHIBIT 1
              Case
               Case
            Case    1:13-cv-08012-CM
                     1:13-cv-08012-SAS Document
                 1:13-cv-08012-CM-DCF   Document
                                        Document63-1
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                                                                               INFRINGING WEBSITES


                                                                             DEFENDANTS - GROUP A
                     Domain Name                                Name(s)                                                     Email Address(es)           Affected Plaintiff
                                                                                                                                                          (Nike and/or
                                                                                                                                                           Converse)
1    www.vans2010-tw.com                 WHOIS AGENT                                         domainadm@hichina.com                                     Nike
2    www.nike678.com                     DOMAIN WHOIS PROTECTION SERVICE                     roro3314@hotmail.com                                      Nike
                                                                                             nike88888com@hotmail.com
                                                                                             shopping8090@hotmail.com
                                                                                             nike9a@yahoo.cn
                                                                                             shopping8090@yahoo.cn
                                                                                             www51nikecom@yahoo.cn
                                                                                             yanuolv@yahoo.com.tw
                                                                                             gucci591@yahoo.com.tw
3    www.visvim-taipei.com               WHOIS AGENT                                         domainadm@hichina.com                                     Nike
                                                                                             shopping112233@hotmail.com
                                                                                             shopping112233@yahoo.com.tw
4    www.vans88-tw.com                   cai cigui                                           yanuolv2013@163.com                                       Nike
                                                                                             violet.min@hotmail.com
                                                                                             shopping112233@hotmail.com
                                                                                             shopping112233@yahoo.com.tw
5    www.levis523.com                    Pan Bing Huang                                      1749080296@qq.com                                         Nike
                                                                                             violet.min@hotmail.com
                                                                                             shopping8090@hotmail.com
                                                                                             shopping112233@hotmail.com
                                                                                             shopping8090@yahoo.com.tw
                                                                                             shopping112233@yahoo.com.tw
6    www.123shoeshop.com                 Pan Bing Huang                                      makemoney.888@hotmail.com                                 Nike
                                                                                             shopping8090@hotmail.com
                                                                                             shopping112233@hotmail.com
                                                                                             shopping8090@yahoo.com.tw
                                                                                             shopping112233@yahoo.com.tw
7    www.camper-taiwan.com               WHOIS AGENT                                         domainadm@hichina.com                                     Nike
                                                                                             violet.min@hotmail.com
                                                                                             shopping8090@hotmail.com
                                                                                             shopping112233@hotmail.com
                                                                                             shopping8090@yahoo.com.tw
                                                                                             shopping112233@yahoo.com.tw
8    www.freerunners-tn-au.com           pu tian shi qing chun mao yi you xian gong si       shoesspring@hotmail.com                                   Nike
9    www.shoes-bags-china.info           sanchun wu                                          530267919@qq.com                                          Nike
                                         yingchun yuan
10   www.shoes-bags-china.org            rose marry                                          daijiawu@live.com                                         Nike
                                         yingchun yuan
11   www.buyshoeclothing.com             Tian yu                                             2428675043@qq.com                                         Nike
                                                                                             wholesale-square@hotmail.com
12   www.cheapnikeaustralia.info         rose marry                                          daijiawu@live.com                                         Nike
                                                                                             shoescapsxyz.com@gmail.com
13   www.niketnshoes.info                rose marry                                          daijiawu@live.com                                         Nike
                                                                                             shoescapsxyz.com@gmail.com
14   www.cheapnikefreeshoes.info         rose marry                                          daijiawu@live.com                                         Nike
                                                                                             shoesspring2005@hotmail.com
15   www.shoecapsxyz.com                 chonghua yu                                         906856729@qq.com                                          Nike
                                         Linhai Ke                                           sell-topbrand@hotmail.com
                                         Maria Wu                                            shoescapsxyz.com@gmail.com
                                                                                             shoesspring2003@hotmail.com
                                                                                             sophieyuan3448@yahoo.com.cn
                                                                                             salesdispute@hotmail.com
16   www.cheapfreerun-tn-au.com          chaokevin lebron                                    1309624870@qq.com                                         Nike
                                                                                             cheapfreetnau@gmail.com; vvipwholesale2012@yahoo.com.cn
17   www.freerun-tns-au.com              chaokevin lebron                                    1309624870@qq.com                                         Nike
18   www.cheapfrees-tn-au.com            yuan shixiang                                       sophieyuan3448@sina.com                                   Nike
                                                                                             cheapfreetnau@gmail.com
19   www.cheapnbajerseys.info            rose marry                                          daijiawu@live.com                                         Nike
20   www.upcomingsbc.com                 sanchun wu                                          530267919@qq.com                                          Nike
21   www.jerseystops.com                 yuan xiaojie                                        wiles@35zh.com                                            Nike
22   www.wholesaleneweracaps.info        rose marry                                          daijiawu@live.com                                         Nike
23   www.wholesalenikeshoes.info         rose marry                                          daijiawu@live.com                                         Nike
24   www.hiphopfootlocker.com            pu tian shi qing chun mao yi you xian gong si       805800638@qq.com                                          Nike
25   www.nikeskosalg.info                rose marry                                          daijiawu@live.com                                         Nike
26   www.airyeezy2pascher.info           rose marry                                          daijiawu@live.com                                         Nike
27   www.caps-sell.com                   mei lian webnet you xian gong si                    1309624870@qq.com                                         Nike
                                                                                             salesdispute@hotmail.com
28   www.buywholesalecap.com             Registration Private                                sell-topbrand@hotmail.com                                 Nike
29   www.nikefrees-au.com                chunchun yuan                                       sophieyuan3448@yahoo.com.cn                               Nike
30   www.airjordanparcher.info           rose marry                                          daijiawu@live.com                                         Nike
31   www.cheapnike2013.info              rose marry                                          daijiawu@live.com                                         Nike
32   www.shoes-jersey-sale.org           dai jianmei                                         salesdispute@hotmail.com                                  Nike
33   www.buyshoeclothing.org             yingchun yuan                                       daijiawu@live.com                                         Nike
34   www.cheapnikenflelitejerseys.info   rose marry                                          shoesspring@hotmail.com                                   Nike
35   www.cheapcowboysjerseys.info        rose marry                                          daijiawu@live.com                                         Nike
36   www.cheapnikefreerunning.org        rose marry                                          daijiawu@live.com                                         Nike
37   www.cheapnikefreerun2.org           rose marry                                          daijiawu@live.com                                         Nike
38   www.newnikefreerun.org              rose marry                                          daijiawu@live.com                                         Nike
39   www.nikefreeserials.org             rose marry                                          daijiawu@live.com                                         Nike
40   www.wholesaelejerseys.org           rose marry                                          daijiawu@live.com                                         Nike
41   www.cheapniketn.info                rose marry                                          daijiawu@live.com                                         Nike
42   www.cheapnikeusa.info               rose marry                                          daijiawu@live.com                                         Nike
43   www.nikerequinpascher.info          rose marry                                          daijiawu@live.com                                         Nike
44   www.shoesnikeairmax90.info          rose marry                                          daijiawu@live.com                                         Nike
45   www.wholesaelejerseys.info          rose marry                                          daijiawu@live.com                                         Nike
46   www.cheaplebronshoes.info           rose marry                                          daijiawu@live.com                                         Nike




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47    www.noschaussuresfr.info              sanchun wu                               daijiawu@live.com                                      Nike
48    www.blazer-sale.co.uk                 1api (privacy protected)                 530267919@qq.com                                       Nike
49    www.jerseypk.net                      WHOIS AGENT                              tradingspring@hotmail.com                              Nike
50    www.skosnorge.com                     zenyu lin                                805800638@qq.com                                       Nike
51    www.shoes-jersey-sale.com                                                      shoesspring2005@hotmail.com                            Nike
52    www.1stairmaxshoes.com                Sean Roy                                 roynaba20@gmail.com                                    Nike
53    www.purchasecheapshoes.co.nz          eloise jayne                             eloise@clough.com.au                                   Nike
54    www.cheapairmaxshoessales.co.nz       jayne Greczkowski                        eloipoole@clough.com.au                                Nike
55    www.ublazers.co.uk                    William Clark                            service3@storelinkmail.com                             Nike
56    www.freerunshoponline.com             Danilo Yambao                            fcvfsde0@yahoo.com                                     Nike
57    www.blazerhigher.co.uk                Natorious Douglas                        service2@airemail.net                                  Nike
58    www.1sblazers.co.uk                   Phil Harrison                            service3@storelinkmail.com                             Nike
59    www.freerunonlocker.co.uk             Alfred La Mar                            storeonlineservice2012@gmail.com                       Nike
60    www.freerunsupermall.co.uk            brad mckinney                            service1@airemail.net                                  Nike
61    www.freerunninglocker.co.uk           Linda Rives                              service1@airemail.net                                  Nike
62    www.blazerhighs.co.uk                 luke jeffrey                             service2@airemail.net                                  Nike
63    www.freerunstoreonline.com            Mike Thornton                            dfse0@yahoo.com                                        Nike
                                                                                     service3@emailkoca.com
64    www.airshoes4u.com                    Angelika Fuhrer                          madgemail18@yahoo.com                                  Nike
                                                                                     service3@emailkoca.com
65    www.trainer90forsale.co.uk            Jenny McDougald                          service5@storelinkmail.com                             Nike
                                            Martin Lessman
66    www.runfreeuksale.co.uk               ALICIA CORBETT                           service2@emailkoca.com                                 Nike
                                                                                     service3@storelinkmail.com
67    www.blazers4u.co.uk                   Alan Ring                                service3@storelinkmail.com                             Nike
68    www.airmaxsneakersale.co.uk           Ethelene Gorham                          service2@airemail.net                                  Nike
69    www.footwearsupermall.co.uk           Scott McCarthy                           service2@emailkoca.com                                 Nike
70    www.footwearsuper.co.uk               Tamerra Barrett                          service2@airemail.net                                  Nike
71    www.blazersdeonlines.co.uk            Kateila Smith                            service2@emailkoca.com                                 Nike
72    www.blazershisuede.co.uk              Helen Mayer                              service2@airemail.net                                  Nike
73    www.blazersuedeonlines.co.uk          zhang ying de                            service2@airemail.net                                  Nike
74    www.cheapfree-tn-au.com                                                        cheapfreetnau@gmail.com                                Nike

                                                                          DEFENDANTS - GROUP B
                      Domain Name                               Name(s)                                                 Email Address(es)    Affected Plaintiff
                                                                                                                                               (Nike and/or
                                                                                                                                                Converse)
75    www.honestysale2.com                  linhao                                   505175638@qq.com                                       Nike
                                                                                     honestysale2@hotmail.com
76    www.wholesalenfljerseyssale.com       Lin Yameng                               wholesalenfljerseyssale@hotmail.com                    Nike
                                            EBI*COMMINUTETE MORE K.K.                honestysale2@hotmail.com
77    www.nikenfldepot.com                  hao lin                                  505175638@qq.com                                       Nike
                                                                                     nikesportjerseys@msn.com
78    www.soaol.com                         linhao                                   505175638@qq.com                                       Nike
                                                                                     today0212@gmail.com
                                                                                     lmany01@gmail.com
79    www.ostyler.com                       linhao                                   505175638@qq.com                                       Nike
                                                                                     kundeservice@ostyler.com
80    www.cheapdiscountnfljerseyshere.com   HuangXiuYing                             fdsgfdgd@qq.com                                        Nike
                                                                                     honestysale2@hotmail.com
81    www.cheapjerseyshonesty.com           Cai LiMing                               rqb@dingdian.cn                                        Nike
                                                                                     honestysale2@hotmail.com
82    www.honestysale3.com                                                           honestysale2@hotmail.com                               Nike
83    www.honestysale1.com                                                           honestysale2@hotmail.com                               Nike
84    www.shoescapsxyz.com                                                           shoescapsxyz.com@gmail.com                             Nike
85    www.shoecapxyz.com                                                             shoescapsxyz.com@gmail.com                             Nike
86    www.honestyjerseys.com                                                         honestysale2@hotmail.com                               Nike

                                                                          DEFENDANTS - GROUP C
                      Domain Name                               Name(s)                                                 Email Address(es)    Affected Plaintiff
                                                                                                                                               (Nike and/or
                                                                                                                                                Converse)
87    www.nike-firm.com                     WHOIS AGENT                              domainadm@hichina.com                                  Nike
                                                                                     sellmanageridb@hotmail.com
88    www.airmaxcentral.com                 weijia yin                               bangd@bangd.com                                        Nike
                                                                                     sellmanageridw@hotmail.com
89    www.nikeairforce1wholesale.com        jie wei                                  johnhijack@139.com                                     Nike
                                                                                     sellmanageridw@hotmail.com
90    www.niketncentral.com                 langui Chen                              hopelady2005@126.com                                   Nike
                                                                                     sellmanageridw@hotmail.com
91    www.shox-pas-cher.com                 Weijia yin                               yixia3@gmail.com                                       Nike
                                                                                     sellmanageridw@hotmail.com
92    www.airforceonediscount.com           jie wei                                  johnhijack@139.com                                     Nike
93    www.airforceonesdiscount.com          wang hong                                airygirl2003@163.com                                   Nike
                                                                                     sellmanageridr@hotmail.com
 94   www.airjordansshoesdiscount.com       jie wei                                  johnhijack@139.com                                     Nike
 95   www.airjordansshoesnike2013.com       li mingbo                                wellsource86@yahoo.com                                 Nike
 96   www.airjordansweb.com                 weijia yin                               paypal888999@139.com                                   Nike
 97   www.airmaxpascher.com                 weijia yin                               paypal888999@139.com                                   Nike
 98   www.discount360c.com                  jie wei                                  johnhijack@139.com                                     Nike
 99   www.footballshirtgrossiste.com        li mingbo                                wellsource86@yahoo.com                                 Nike
100   www.jordanairnike2013.com             li mingbo                                wellsource86@yahoo.com                                 Nike
                                                                                     sellmanageridb@hotmail.com
101 www.jordanairwholesale.com              jie wei                                  johnhijack@139.com                                     Nike
102 www.nflofchina.com                      lin linming                              whjsoft@126.com                                        Nike
                                            EBL*BRAKEHEMALT K.K.-TRAD                sellmanageridr@hotmail.com
                                                                                     onlinebizdiscount@gmail.com (PayPal)
103 www.storeonlineselllnow.com             Brakehemalt K.K                                                                                 Nike
104 www.nikeairjordansweb.com               wang hong                                airygirl2003@163.com                                   Nike
                                                                                     sellmanageridb@hotmail.com
105 www.nikeairjordanswholesale.com         jie wei                                  johnhijack@139.com                                     Nike
106 www.nikeairmax1998.com                  li gang                                  airygirl2004@163.com                                   Nike




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             Case    1:13-cv-08012-CM
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                  1:13-cv-08012-CM-DCF   Document
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107 www.nike-air-max-destock.com          Wu Zhenlong                              airygirl2004@126.com                                     Nike
                                                                                   sellmanageridr@hotmail.com
                                                                                   ordermanageridr@gmail.com
                                                                                   generalmanageridr@hotmail.com
108   www.nikeairmaxinstock.com           jie wei                                  johnhijack@139.com                                       Nike
109   www.nikecentral.com                 jie wei                                  johnhijack@139.com                                       Nike
110   www.nikegrossiste.com               jiang wang                               paypa999@139.com                                         Nike
111   www.nike-offer.com                  yubaosu                                  funyba@126.com                                           Nike
112   www.nikeofusa.com                   san susan                                bangd@bangd.com                                          Nike
113   www.nike-pas-cher.fr                Xubo Hu                                  support@tongyong.net                                     Nike
114   www.nikerequinpascher.com           Fundacion Private Whois                  522cf60537bakydg@5225b4d0pi3627q9.privatewhois.net       Nike
115   www.nikeshoxdestock1.com            li gang                                  airygirl2004@163.com                                     Nike
116   www.nikeshoxgrossiste.com           li mingbo                                wellsource86@yahoo.com                                   Nike
117   www.nikeshoxweb.com                 jie wei                                  johnhijack@139.com                                       Nike
118   www.nike-sport.com                  quanzhou                                 perchas@126.com                                          Nike
119   www.niketn.fr                       Xubo Hu                                  support@tongyong.net                                     Nike
120   www.nike-tn-best.com                li gang                                  airygirl2004@163.com                                     Nike
121   www.niketngrossiste.com             li mingbo                                wellsource86@yahoo.com                                   Nike
122   www.nike-tn-instock.com             li gang                                  airygirl2004@163.com                                     Nike
123   www.nike-tn-sell-discount.com       Yaping Lee                               hopelady2003@163.com                                     Nike
                                                                                   sellmanageridr@hotmail.com; ordermanageridr@gmail.com;
                                                                                   generalmanageridr@hotmail.com
124   www.nike-trading.com                yubao su                                 bangd@bangd.com                                          Nike
125   www.retrojordannike2013.com         li mingbo                                wellsource86@yahoo.com                                   Nike
126   www.retrojordanswholesale.com       jie wei                                  johnhijack@139.com                                       Nike
127   www.shoxgrossiste.com               li mingbo                                wellsource86@yahoo.com                                   Nike
128   www.shox-pas-cher-there.com         wu zhenlong                              airygirl2004@126.com                                     Nike
129   www.tn-best-tn.com                  wu zhenlong                              airygirl2004@126.com                                     Nike
130   www.tnfrance.com                    weijia yin                               bangd@bangd.com                                          Nike
131   www.tngrossiste.com                 Weijia yin                               yixia3@gmail.com                                         Nike
132   www.tnrequinfrance.com              weijia yin                               bangd@bangd.com                                          Nike
133   www.tn-requin-france-discount.com   wu zhenlong                              airygirl2004@126.com                                     Nike
134   www.tn-requin-pas-chere1.com        wu zhenlong                              airygirl2004@126.com                                     Nike
135   www.tnrequinweb.com                 weijia yin                               paypal888999@139.com                                     Nike
136   www.shoxniker4sale.com              wu zhenlong                              airygirl2004@126.com                                     Nike
                                                                                   ordermanageridr@gmail.com
                                                                                   generalmanageridr@hotmail.com
                                                                                   sellmanageridr@hotmail.com
137 www.nikeairmaxstore.nl                Telepublicity                            ordermanageridr@gmail.com                                Nike
                                                                                   generalmanageridr@hotmail.com
                                                                                   sellmanageridr@hotmail.com
138   www.nike-requin-nike.com            Solomaier Dennis                         vidda2771@hotmail.fr                                     Nike
139   www.shoxtn.com                      san san                                  wellsource86@yahoo.com                                   Nike
140   www.nike-chaussures.fr              Ano Nymous                               -                                                        Nike
141   www.nike-tn.fr                      Ano Nymous                               -                                                        Nike
142   www.tn-new-discount.com             jie wei                                  johnhijack@139.com                                       Nike
143   www.nikeairforcecentral.com         wang hong                                airygirl2003@163.com                                     Nike
144   www.tnrequinmall.com                weijia yin                               tnrequinmall@live.com                                    Nike
                                                                                    paypal888999@139.com
145   www.tnrequincentral.com             weijia yin                               paypal888999@139.com                                     Nike
146   nike-chaussures.fr                  Ano Nymous                                                                                        Nike
147   nike-tn.fr                          Ano Nymous                                                                                        Nike
148   tnrequinmall.com                    weijia yin                               tnrequinmall@live.com                                    Nike
                                                                                   paypal888999@139.com
149 www.nikeairforcecentral.com           wang hong                                airygirl2003@163.com                                     Nike
150 tn-new-discount.com                   jie wei                                  johnhijack@139.com                                       Nike
151 tnrequincentral.com                   weijia yin                               paypal888999@139.com                                     Nike

                                                                        DEFENDANTS - GROUP D
                      Domain Name                             Name(s)                                               Email Address(es)        Affected Plaintiff
                                                                                                                                               (Nike and/or
                                                                                                                                                Converse)
152 www.cleat.biz                         Repossessed by Go Daddy                  repossesseddomain@godaddy.com                            Nike
                                                                                   customerserviceNo1@hotmail.com
153 www.dealerbyte.com                    Repossessed by Go Daddy                  customerserviceNo1@hotmail.com                           Nike
154 www.soccercleatsky.com                jason tokunaga                           esoccerpro@gmail.com                                     Nike
                                                                                   customersupports@live.com
155 www.footballebay.com                  Tiffany Jarvis                           accountlocked@godaddy.com                                Nike
                                                                                   secureonlinepay@hotmail.com
156 www.nikemercurialvaporspeed.com       Tiffany Jarvis                           445241672@qq.com                                         Nike
                                                                                   secureonlinepay@hotmail.com
157 www.nikemercurialsoccer.com           ksenia gonchar                           efashion2000@gmail.com                                   Nike
                                                                                   secureonlinepay@hotmail.com
158 www.soccersprint.biz                  Sebastian Schwarz                        80338781@qq.com                                          Nike
                                                                                   secureonlinepay@hotmail.com
159 www.esoccerfans.com                   Tiffany Jarvis                           445241672@qq.com                                         Nike
                                                                                   secureonlinepay@hotmail.com
160   www.esportmall.com                  Repossessed by Go Daddy                  secureonlinepay@hotmail.com                              Nike
161   www.tshop365.com                    jason tokunaga                           esoccerpro@gmail.com                                     Nike
162   www.buyshoeslive.com                Repossessed by Go Daddy                  repossesseddomain@godaddy.com                            Nike
163   www.bscbc.com                       Repossessed by Go Daddy                  customerserviceNo1@hotmail.com                           Nike
164   www.suckitvandy.com                 Repossessed by Go Daddy                  customerserviceNo1@hotmail.com                           Nike
165   www.shoemalltop.com                 Carley Mowatt Inc                        80338781@qq.com                                          Nike
                                                                                   secureonlinepay@hotmail.com
166 www.worldtopsoccer.com                Carley Mowatt Inc                        80338781@qq.com                                          Nike
                                                                                   secureonlinepay@hotmail.com
                                                                                   customerserviceNo1@hotmail.com
167   www.nikemercurialvapor8sale.com     Carley Mowatt Inc                        jiessie@vip.qq.com                                       Nike
168   www.nikemercurialvapor8cleats.com   Carley Mowatt Inc                        jiessie@vip.qq.com                                       Nike
169   www.cocasite.com                    jason tokunaga                           esoccerpro@gmail.com                                     Nike
170   www.soccerse.com                    Repossessed by Go Daddy                  repossesseddomain@godaddy.com                            Nike
171   www.buyzshop.com                    zalima moonasar                          secureonlinepay@hotmail.com                              Nike
172   www.soccerumarket.com               Repossessed by Go Daddy                  secureonlinepay@hotmail.com                              Nike
                                          WWW.LEDOES.COM                           diytradecenter@live.com
                                                                                   customersupports@live.com




                                                                               3
               Case
                Case
             Case    1:13-cv-08012-CM
                      1:13-cv-08012-SAS Document
                  1:13-cv-08012-CM-DCF   Document
                                         Document63-1
                                                  37-2 Filed
                                                   72-12 Filed10/20/17
                                                               06/29/15
                                                           Filed        Page
                                                                 02/14/18 Page
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173 www.ecspnstore.com                 Lucian Witmer                                   jiessie@vip.qq.com                                   Nike
                                                                                       secureonlinepay@hotmail.com
                                                                                       customerserviceNo1@hotmail.com
174 www.bookstoremall.com              Repossessed by Go Daddy                         repossesseddomain@godaddy.com                        Nike
                                                                                       sellmanageridr@hotmail.com
                                                                                       ordermanageridr@gmail.com
                                                                                       xgeneralmanageridr@hotmail.com
175 www.soccermallonline.org           Host Master                                     soccermallonline.org@privacy.above.com               Nike
176 www.teekus.com                     Heng Long Co, Ltd                               445241672@qq.com                                     Nike
                                       Chen Zao jie Chen Zao jie                       asklines@hotmail.com
177 www.scillytv.co.uk                 Mary Reynolds                                   customerserviceNo1@hotmail.com                       Nike
                                                                                       nikemercurialorange@gmail.com
178 www.prosoccersport.com             Carley Mowatt Inc                               80338781@qq.com                                      Nike
                                                                                       secureonlinepay@hotmail.com
179 www.soccerexport.com               Lucian Witmer                                   jiessie@vip.qq.com                                   Nike
                                                                                       secureonlinepay@hotmail.com
180 www.mercurialvaporviiicleats.com   guan ya dong fang mao yi you xian gong si       jiessie@vip.qq.com                                   Nike
                                                                                       secureonlinepay@hotmail.com
                                                                                       customerserviceNo1@hotmail.com
181 www.nikemercurialvapor-ix.com      guan ya dong fang mao yi you xian gong si       jiessie@vip.qq.com                                   Nike
                                       chen zhi jie                                    secureonlinepay@hotmail.com
182   www.marketplaceshoes.com         zalima moonasar                                 yong2012li@163.com                                   Nike
183   www.mercurialvaporsviii.com      Carley Mowatt Inc                               jiessie@vip.qq.com                                   Nike
184   www.sprotsfans.com               jason tokunaga                                  esoccerpro@gmail.com                                 Nike
185   www.tsoccershop365.com           chen zhi jie                                    jiessie@vip.qq.com                                   Nike
186   www.nikesocceruk.com             ksenia gonchar                                  nikemercurialorange@gmail.com                        Nike
187   www.nikesocceruk.net             n/a                                             nikemercurialorange@gmail.com                        Nike
188   www.soccerprosport.com                                                           secureonlinepay@hotmail.com                          Nike
189   www.soccercleatssporting.com     Tiffany Jarvis                                  445241672@qq.com                                     Nike
190   www.directsoccershop.com         Heng Long Co, Ltd                               445241672@qq.com                                     Nike
191   www.eprosoccer.com               Tiffany Jarvis                                  445241672@qq.com                                     Nike
192   www.esoccerpro.org               zhang wei ping                                  445241672@qq.com                                     Nike
193   www.soccerprofootball.com        Tiffany Jarvis                                  445241672@qq.com                                     Nike
194   www.fansedges.us                 jason tokunaga                                  esoccerpro@gmail.com                                 Nike
195   www.footballsoccercleats.com     jason tokunaga                                  esoccerpro@gmail.com                                 Nike
196   www.jerseyskype.com              jason tokunaga                                  esoccerpro@gmail.com                                 Nike
197   www.kosdr.com                    jason tokunaga                                  esoccerpro@gmail.com                                 Nike
198   www.soccerebuy.com               jason tokunaga                                  esoccerpro@gmail.com                                 Nike
199   www.nikemercurialorange.com      ksenia gonchar                                  efashion2000@gmail.com                               Nike
200   www.tsoccer365.com               guan ya dong fang mao yi you xian gong si       jiessie@vip.qq.com                                   Nike
201   www.nikemercurialvapor-9.com     guan ya dong fang mao yi you xian gong si       jiessie@vip.qq.com                                   Nike
202   www.footballfanaticshop.com      Repossessed by Go Daddy                         repossesseddomain@godaddy.com                        Nike
                                                                                       secureonlinepay@hotmail.com
                                                                                       customerserviceNo1@hotmail.com
203 www.footballushop.com              Repossessed by Go Daddy                         repossesseddomain@godaddy.com                        Nike
                                                                                       secureonlinepay@hotmail.com
                                                                                       customerserviceNo1@hotmail.com
204 www.dmsrecap.com                   Sebastian Schwarz                               80338781@qq.com                                      Nike
                                                                                       secureonlinepay@hotmail.com
                                                                                       customerserviceNo1@hotmail.com
205 www.nikeshox.fr                    Xubo Hu                                         support@tongyong.net                                 Nike
206 www.cheapsoccercleatss.com         Chen Zao jie Chen Zao jie                       445241672@qq.com                                     Nike
207 www.eshopstyle.com                 Chen Zao jie Chen Zao jie                       customerserviceNo1@hotmail.com                       Nike
                                                                                       445241672@qq.com
208 www.powerports.net                 chen zhi jie                                    jiessie@vip.qq.com                                   Nike
209 www.footballsoccerjerseys.com      Domain Admin                                    secureonlinepay@hotmail.com                          Nike
                                                                                       80338781@qq.com
210 www.pcmarketlive.com               Registration Private                            customersupports@live.com                            Nike
211 www.hottershoesuk.com              Repossessed by Go Daddy                         customersupports@live.com                            Nike
                                                                                       seantrubynom@gmail.com
212   www.dsmrecap.com                 Sebastian Schwarz                               80338781@qq.com                                      Nike
213   www.cheapejerseys.com            Tiffany Jarvis                                  customerserviceNo1@hotmail.com                       Nike
214   cheapejerseys.com                Tiffany Jarvis                                  customerserviceNo1@hotmail.com                       Nike
215   cheapsoccercleatss.com           Chen Zao jie Chen Zao jie                       445241672@qq.com
216   dsmrecap.com                     Sebastian Schwarz                               80338781@qq.com
217   eshopstyle.com                   Chen Zao jie Chen Zao jie                       customerserviceNo1@hotmail.com
218   powerports.net                   chen zhi jie                                    jiessie@vip.qq.com

                                                                          DEFENDANTS - GROUP E
                     Domain Name                           Name(s)                                                      Email Address(es)    Affected Plaintiff
                                                                                                                                               (Nike and/or
                                                                                                                                                Converse)
219   www.lebron10-forsale.com         Alsaadi                                         xiezhong77@hotmail.com                               Nike
220   www.kickstopshoe.com             sdgwe                                           marlorenzo@gmail.com                                 Nike
221   www.airjordansalg.dk             James Mize                                      service3@webseemial.com                              Nike
222   www.d3classicshoes.co.nz         mica croomes                                    sinianz@yahoo.com                                    Nike
                                                                                       service3@linkonlinemail.com
223   www.b3classicshoes.com                                                           service3@linkonlinemail.com                          Nike
224   www.rabatairmax.dk               Courtney Granger                                service3@webseemial.com                              Nike
225   www.kickstopshoes.net            krystian                                        allenseng@hotmail.com                                Nike
226   www.a3classicshoes.com           Anderson Lisa                                   yangziss@hotmail.com                                 Nike
                                                                                       service3@linkonlinemail.com
227 www.kobe8forsale.com               Terrance                                        xia2781233@hotmaill.com                              Nike
                                                                                       service@airjordan2013.co.uk
228 www.shox-force1.net                Jason                                           callyhubil@yahoo.com                                 Nike
229 www.af1shox.com                    Julie                                           lieann.mccarthy@btinternet.com                       Nike
                                       WWW.LEDOES.COM                                  service1@webseemial.com
230   www.buyshoe23.com                Gale Phil                                       phillip@hotmail.com                                  Nike
231   www.kdbuy2013.com                sgerh drhre                                     f3du20@yahoo.com                                     Nike
232   www.freeruntrainer.com           tian jing                                       tianjing1os@163.com                                  Nike
233   www.2013skoonline.dk             Illya Marcel                                    service3@webseemial.com                              Nike
234   www.salg2013joggesko.dk          LaRod Jones                                     service3@webseemial.com                              Nike
235   www.airmaxonline.dk              Cynthia Friend                                  service3@webseemial.com                              Nike
236   www.1foampositesale.com          Dasha Costin                                    dfiu20@yahoo.com                                     Nike
237   www.foamposites-onsales.com      james potts                                     xerophytea@yahoo.com                                 Nike
238   www.1nbashop.com                 Cook                                            jiasw@hotmail.com                                    Nike




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239   www.nbashop1.com                     Julie McCarthy            lieann.mccarthy@btinternet.com               Nike
240   www.1sfoampositesale.com             Khadir Khalid             janeh910@gmail.com                           Nike
241   www.buyshoegift.com                  Julie McCarthy            lieann.mccarthy@btinternet.com               Nike
242   www.buyshoegifts.com                 sagvsdrg sdvxc            csdffhdhr@hotmail.com                        Nike
243   www.buyshoesgift.com                 bei peng                  beipeng5@163.com                             Nike
244   www.buyshoesgifts.com                PrivacyProtect.org        contact@privacyprotect.org                   Nike
245   www.foamposites-onsale.com           lu yuquan                 luyuquan3v@163.com                           Nike
246   www.foampositesonsale.com            Kenneth Keim              allenseng@hotmail.com                        Nike
247   www.kd2013buy.com                    Melissa Gamboa            mgboa0213@gmail.com                          Nike
248   www.kdshoe2013.com                   Louis Hopkins             service@shoes2u.co.nz                        Nike
249   www.foampositeswear.com              biqin lin                 nightbeforen@yahoo.com                       Nike
250   www.sportsrea.se                                               convenienceservice@gmail.com                 Nike
251   www.besteschuhe2013.de               joshua epps               sdsar@yahoo.com                              Nike
                                                                     convenienceservice@gmail.com
252 www.airmaxkaufen.de                    Kathy Perales             ewefsdsafds@yahoo.com                        Nike
                                                                     convenienceservice@gmail.com
253 www.airmaxshoeonline.de                xiao dongxu               convenienceservice@gmail.com                 Nike
254 www.freerunde.de                       Jon Sellers               xerophytec@yahoo.com                         Nike
                                                                     convenienceservice@gmail.com
255 www.cheapkobe8.net                     Clark Celeste             xia2781233@hotmaill.com                      Nike
                                                                     service1@webseemial.com
256 www.magshoesforsale.com                xing dian                 xingdian5g@163.com                           Nike
                                                                     service2@webseemial.com
257 www.runfreesneakers.com                xu weihai                 1197084292@qq.com                            Nike
                                                                     service3@webseemial.com
258 www.runnershoes.de                     Dinah Keshishian          klbdvdfldfvs@yahoo.com                       Nike
                                                                     service5@webseemial.com
259 www.topairmaxschuhe.de                 Mareen Eisenmann          lastpassward@yahoo.com                       Nike
                                                                     service5@webseemial.com
260 www.airmaxonline.de                    Peter Adam                lastdifferent@yahoo.com                      Nike
                                                                     niceamas@gmail.com
261 www.buyshoesone.com                    Fuck Track me             wo_gan_ni_mama@yeah.net                      Nike
                                                                     niceamas@gmail.com
262 www.kevin-durant-shoes.net             Sacaj Boxangel            yangziss@hotmail.com                         Nike
263 www.airf1shox.com                      pengxiuli                 xerophytem@yahoo.com                         Nike
                                                                     service1@webseemial.com
264 www.bestbuynike.com                    SandyC                    ptcsn@163.com                                Nike
                                                                     jnfszsw@163.com
265   www.c3classicshoes.co.nz             Lisa Lacey                yeu050806@hotmail.com                        Nike
266   www.e3classicshoe.co.nz              cynthia nieves            service3@linkonlinemail.com                  Nike
267   www.kevindurantshoes.net             Chris Hebert              nfl2045@hotmail.com                          Nike
268   www.drun.co.uk                       Cortez Shore              convenienceservice@gmail.com                 Nike
269   www.tiffanyfreeruns.net              dsjf lai                  douguaiaidegus@gmail.com                     Nike / Converse
270   www.jd2c.com                         Fuck Track me             wo_gan_ni_mama@yeah.net                      Nike
                                                                     nimamabea@163.com
                                                                     ihandbag123@163.com
271 www.lqshoes.com                        Fuck Track me             wo_gan_ni_mama@yeah.net                      Nike
                                                                     ihandbag123@163.com
272 www.buytheshoes.com                    HUANG XIAO                buytheshoes84@yahoo.com                      Nike
                                                                     48058406@qq.com
273   www.cheapjordanshoes2014online.com   Jack Zhang                niceamas@gmail.com                           Nike
274   www.cheapnikefreeshoes2014.com       Jack Zhang                niceamas@gmail.com                           Nike
275   www.yearofthesnakekobe8.com          jian yin                  tongkudegaib@gmail.com                       Nike
276   www.360chaussures.fr                 Jordan Batters            convenienceservice@gmail.com                 Nike
                                                                     chenliji1u@163.com
277   www.a3classicshoes.co.nz             Kathy Peyton              sdsar@yahoo.com                              Nike
278   www.newsneakersoutlet.com            krystian                  allenseng@hotmail.com                        Nike
279   www.airjordan23shoese.com            lin hua cong              teeblog@qq.com                               Nike
280   www.nikeblazerfemmelb.org            lin hua cong              teeblog@qq.com                               Nike
281   www.nikeschuhenikefree.com           lin hua cong              teeblog@qq.com                               Nike
282   www.nike-outlet.us                   lin hua cong              teeblog@qq.com                               Nike
283   www.trainingshoesbuy.com             motao                     service1@webseemial.com                      Nike
                                                                     hbxpoolxcc@yahoo.com
284   www.tiffanycofreeruns.org            no buh                    shentaishanglk@gmail.com                     Nike / Converse
285   www.tiffanyfreerunner.com            no buh                    shentaishanglk@gmail.com                     Nike
286   www.tiffanyfreerunner.org            no buh                    shentaishanglk@gmail.com                     Nike
287   www.freerun3volt.com                 no buh                    ninetytradestore@gmail.com                   Nike
288   www.limegreenfreeruns.com            no buh                    shentaishanglk@gmail.com                     Nike / Converse
                                                                     ninetytradestore@gmail.com
289   www.tropicaltwistfreeruns.com        no buh                    ninetytradestore@gmail.com                   Nike / Converse
290   www.nikesb22.com                     REACTIVATION PERIOD       niceamas@gmail.com                           Nike / Converse
291   www.airpenny1forsale.net             Sacaj BoxAngel            yangziss@hotmail.com                         Nike
292   www.usajumpman.com                   SandyC                    morethanjordan23@yahoo.com                   Nike
                                                                     ptcsn@163.com
293   www.360runningshoes.com              tang guo                  tangguo2s@163.com                            Nike
294   www.freeruns3v4.com                  todd amira                toddamira883@gmail.com                       Nike
295   www.jordan4unc.com                   water lin                 wo_gan_ni_mama@yeah.net                      Nike
296   www.shoxuk.com                       WHOIS AGENT               1197084292@qq.com                            Nike
297   www.maxshox2au.com                   xu weihai                 vxvdsad@yahoo.com                            Nike
                                                                     1197084292@qq.com
298   www.blazershiuk.com                  xu weihai                 vxvdsad@yahoo.com                            Nike
299   www.jdnsneakers.com                  xu weihai                 vxvdsad@yahoo.com                            Nike
300   www.outdoorukshoes.com               xu weihai                 1197084292@qq.com                            Nike
301   www.pickfreetrainers.com             xu weihai                 1197084292@qq.com                            Nike
302   www.runshoeuk.com                    xu weihai                 vxvdsad@yahoo.com                            Nike
303   www.shoesjduk.com                    xu weihai                 vxvdsad@yahoo.com                            Nike
304   www.trainersmalluk.com               xu weihai                 vxvdsad@yahoo.com                            Nike
                                                                     1197084292@qq.com
305 www.2012free.org                       yujian ran                tebiedeaigei@gmail.com                       Nike
306 www.tiffanyfreeruns.com                yujian ran                tebiedeaigei@gmail.com                       Nike / Converse
                                                                     ninetytradestore@gmail.com
307   airpenny1forsale.net                 Sacaj BoxAngel            yangziss@hotmail.com                         Nike
308   nikesb22.com                         REACTIVATION PERIOD       niceamas@gmail.com                           Nike / Converse
309   jordan4unc.com                       water lin                 wo_gan_ni_mama@yeah.net                      Nike
310   lqshoes.com                          Fuck Track me             wo_gan_ni_mama@yeah.netihandbag123@163.com   Nike
311   a3classicshoes.co.nz                 Kathy Peyton              sdsar@yahoo.com                              Nike




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312   airjordan23shoese.com           lin hua cong                                 teeblog@qq.com                                         Nike
313   cheapnikefreeshoes2014.com      Jack Zhang                                   niceamas@gmail.com                                     Nike
314   maxshox2au.com                  xu weihai                                    vxvdsad@yahoo.com1197084292@qq.com                     Nike
315   newsneakersoutlet.com           krystian                                     allenseng@hotmail.com                                  Nike

316 nikeblazerfemmelb.org             lin hua cong                                 teeblog@qq.com                                         Nike
317 nikeschuhenikefree.com            lin hua cong                                 teeblog@qq.com                                         Nike
318 shoxuk.com                        WHOIS AGENT                                  1197084292@qq.com                                      Nike

                                                                        DEFENDANTS - GROUP F
                     Domain Name                        Name(s)                                                       Email Address(es)    Affected Plaintiff
                                                                                                                                             (Nike and/or
                                                                                                                                              Converse)
319 www.hyperchaos.net                jian yin                                     haifatradestore@gmail.com                              Nike
                                      Bodon Trading                                2807980168@qq.com
                                      Zhizhong Huang
320 www.cheapkd5shoes.com             jian yin                                     haifatradestore@gmail.com                              Nike
                                      Eric Lee                                     ninetytradestore@gmail.com
                                      Bodon Trading                                2807980168@qq.com
                                      Meijin Huang
                                      Zhizhong Huang
321 www.freesrunsstore.com            Bodon Trading
                                      Zhizhen Li
322 www.airfoampositemax.com          dsjf lai                                     douguaiaidegus@gmail.com                               Nike
323 www.freeruns20.com                no buh                                       shentaishanglk@gmail.com                               Nike
                                                                                   ninetytradestore@gmail.com                             Converse
                                                                                   2807980168@qq.com
324 www.lebron9womens.com             jue xin                                      guanbushangd@gmail.com                                 Nike
325 www.kdvbhm5.com                   todd amira                                   toddamira883@gmail.com                                 Nike
326 www.buyfreeruncheapsale.com       yujian ran                                   ninetytradestore@gmail.com                             Nike
                                                                                   tebiedeaigei@gmail.com
327 www.tiffanybluefreerun3.com       yujian ran                                   ninetytradestore@gmail.com                             Nike
                                                                                   tebiedeaigei@gmail.com
328 www.freerunsstore.com             no buh                                       ninetytradestore@gmail.com                             Nike
                                      Bodon Trading                                2807980168@qq.com                                      Converse
                                      Zhizhen Li
329   www.airfoamposite1.org          leng ye                                      damabaiyun@gmail.com                                   Nike
330   www.kdv-bhm.com                 todd amira                                   toddamira883@gmail.com                                 Nike
331   freeruns3v4.com                 todd amira                                   toddamira883@gmail.com                                 Nike
332   tiffanycofreeruns.org           no buh                                       shentaishanglk@gmail.com                               Nike / Converse
333   tiffanyfreerunner.com           no buh                                       shentaishanglk@gmail.com                               Nike
334   tiffanyfreerunner.org           no buh                                       shentaishanglk@gmail.com                               Nike

                                                                        DEFENDANTS - GROUP G
                     Domain Name                        Name(s)                                                       Email Address(es)    Affected Plaintiff
                                                                                                                                             (Nike and/or
                                                                                                                                              Converse)
335 www.nikefree4s.com                huang yamei                                  limei53@hotmail.com                                    Nike
                                      Cheap Nike Free Run Trade Co., Ltd.          cheapmaxshox@hotmail.com
336 www.nbakd.com                                                                  onlinesales21@hotmail.com                              Nike
                                                                                   cheapmaxshox@hotmail.com
337 www.kengriffey4s.com              zhihong pt                                   ziqiang53@163.com                                      Nike
                                                                                   cheapmaxshox@hotmail.com
338   www.occidentsell.com            zhihong wu                                   zhihong1888@hotmail.com                                Nike
339   www.nbarose.com                 limei huang                                  ziqiang53@163.com                                      Nike
340   www.nbakevindurant.com          yuhua wu                                     yuhua53@hotmail.com                                    Nike
341   www.cheap-freerun.com           yuhua wu                                     yuhua53@hotmail.com                                    Nike
342   www.kobe8shoes2u.com            zhihong wu                                   limei53@hotmail.com                                    Nike
343   www.lbj4u.com                   yuhua wu                                     yuhua53@hotmail.com                                    Nike
344   www.soccershoes2u.com           yuhua wu                                     cheapmaxshox@hotmail.com                               Nike
                                                                                   yahua53@hotmail.com

                                                                        DEFENDANTS - GROUP H
                     Domain Name                        Name(s)                                                       Email Address(es)    Affected Plaintiff
                                                                                                                                             (Nike and/or
                                                                                                                                              Converse)
345   www.cheapvip-jerseys.com        Bill King                                    service@cheapvip-jerseys.com                           Nike
346   www.sonarwetsuits.com           Bill King                                    placeanorder@live.com                                  Nike
347   www.nugah.com                   Bill King                                    nugah4u@gmail.com                                      Nike
348   www.cheapnikefreerun30au.com    Bill King                                    service@cheapnikefreerun30au.com                       Nike
349   www.nikefreeruns30.com          Bill King                                    service@nikefreeruns30.com                             Nike
                                      EBL*SUCH RAINY Y.K. - SALES
350 www.speechtotextservice.net       Reactivation Period                          Reactivation-Pending@enom.com                          Nike
                                                                                   nugah4u@gmail.com
351   www.nikefreerunnersshoes.com    Bill King                                    service@nikefreerunnersshoes.com                       Nike
352   www.newnfljerseys2012nike.com   Bill King                                    service@newnfljerseys2012nike.com                      Nike
353   www.nikefreerunners5.com        Bill King                                    service@nikefreerunners5.com                           Nike
354   www.sonarwetsuits.com           Bill King                                    placeanorder@live.com                                  Nike
355   www.freerundks.com              Bill King                                    placeanorder@live.com                                  Nike
356   www.nikefreerundkp.com          Bill King                                    placeanorder@live.com                                  Nike
357   www.freerunlobesko.com          Bill King                                    placeanorder@live.com                                  Nike
358   www.nikefreerundku.com          Bill King                                    placeanorder@live.com                                  Nike
359   www.cheapfreerun2sale.com       Bill King                                    placeanorder@live.com                                  Nike
360   www.cheapfreerun3online.com     Bill King                                    placeanorder@live.com                                  Nike
361   www.cheapnikefreetr.com         Bill King                                    placeanorder@live.com                                  Nike
362   www.dkbilligenikefree.com       zita binder                                  binderzita@gmail.com                                   Nike
363   www.dkfreerun2.com              zita binder                                  freerunsdksalg@gmail.com                               Nike
364   www.dkfreerun3.com              zita binder                                  dkfreeruns@gmail.com                                   Nike
365   www.dkfreeruntilbud.com         zita binder                                  dkfreerunstilbud@gmail.com                             Nike
366   www.freerundkp.com              Bill King                                    placeanorder@live.com                                  Nike
367   www.gizvtnaita.com              WHOISGUARD PROTECTED                         nikefreerunsaleaus@gmail.com                           Nike
368   www.nikefreedkp.com             Bill King                                    placeanorder@live.com                                  Nike
369   www.nikefreerun2shop.com        Bill King                                    placeanorder@live.com                                  Nike
370   www.nikefreerunlobesko.com      Bill King                                    placeanorder@live.com                                  Nike
371   www.nikefreeskodkt.com          Bill King                                    placeanorder@live.com                                  Nike
372   www.nikefreetilbudlobesko.com   Bill King                                    placeanorder@live.com                                  Nike




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373 www.dkfreerun30.com             zita binder                            dkfreerun30@gmail.com                                 Nike
                                                                           placeanorder@live.com
374 www.nikefreerunsaleaus.com      WHOISGUARD PROTECTED                   nikefreerunsaleaus@gmail.com                          Nike
375 www.onlinenikefreesko.com       Bill King                              service@onlinenikefreesko.com                         Nike
                                                                           placeanorder@live.com
376   cheapfreerun2sale.com         Bill King                              placeanorder@live.com                                 Nike
377   cheapfreerun3online.com       Bill King                              placeanorder@live.com                                 Nike
378   cheapnikefreetr.com           Bill King                              placeanorder@live.com                                 Nike
379   dkbilligenikefree.com         zita binder                            binderzita@gmail.com                                  Nike
380   dkfreerun2.com                zita binder                            freerunsdksalg@gmail.com                              Nike
381   dkfreerun3.com                zita binder                            dkfreeruns@gmail.com                                  Nike
382   dkfreeruntilbud.com           zita binder                            dkfreerunstilbud@gmail.com                            Nike
383   freerundkp.com                Bill King                              placeanorder@live.com                                 Nike
384   gizvtnaita.com                WHOISGUARD PROTECTED                   nikefreerunsaleaus@gmail.com                          Nike
385   nikefreedkp.com               Bill King                              placeanorder@live.com                                 Nike
386   nikefreerun2shop.com          Bill King                              placeanorder@live.com                                 Nike
387   nikefreerunlobesko.com        Bill King                              placeanorder@live.com                                 Nike
388   nikefreeskodkt.com            Bill King                              placeanorder@live.com                                 Nike
389   nikefreetilbudlobesko.com     Bill King                              placeanorder@live.com                                 Nike
390   dkfreerun30.com               zita binder                            dkfreerun30@gmail.com                                 Nike
                                                                           placeanorder@live.com
391 nikefreerunsaleaus.com          WHOISGUARD PROTECTED                   nikefreerunsaleaus@gmail.com                          Nike
392 onlinenikefreesko.com           Bill King                              service@onlinenikefreesko.com                         Nike
                                                                           placeanorder@live.com

                                                             DEFENDANTS - GROUP I
                      Domain Name                  Name(s)                                                   Email Address(es)   Affected Plaintiff
                                                                                                                                    (Nike and/or
                                                                                                                                     Converse)
393 www.freebuyshoes.com            Joann Smith                            nikefreeonline2012@hotmail.com                        Nike
                                    JIACHENGJUN INVESTMENT CO.
                                    SHENZHEN 51800
394 www.newfreeshoes.com            Joe Tran                               nikefreeonline2012@hotmail.com                        Nike
                                    JIACHENGJUN INVESTMENT CO.
                                    SHENZHEN 51800
395 www.newcomeshoes.com                                                   nikefreeonline2012@hotmail.com
396 www.2014newshoes.com                                                   nikefreeonline2012@hotmail.com
397                                 joe tran                               services2013@hotmail.com                              Nike
                                                                           monicayy68@hotmail.com
      www.shoesbuyeasy.com                                                 amy zsr@hotmail.com
398                                 Jean Sabud                             nikefreeonline2012@hotmail.com                        Nike
      www.2014newshoes.com                                                 onlyalice@hotmail.com

                                                             DEFENDANTS - GROUP J
                      Domain Name                  Name(s)                                                   Email Address(es)    Affected Plaintiff
                                                                                                                                    (Nike and/or
                                                                                                                                     Converse)
399 www.purplelebrons.com           kayla moore                            jenneyzhenlin@gmail.com                               Nike
                                                                           service@nbashoes.net
                                                                           service@nbashoes.com
400 www.nike-sandals.com            san zhang                              domainages@gmail.com                                  Nike / Converse
401 www.cheaplebrons.org            kayla moore                            jenneyzhenlin@gmail.com                               Nike
                                                                           service@cheaplebrons.org
402 www.crazysupplier.com           Liu JinGuo                             support@domainname.vg                                 Nike
                                    eNom, Inc.                             buykicksonline@hotmail.com
                                                                           hi.pickbuys@hotmail.com
403 www.newfoamposites.org          zhang san                              jenneyzhenlin@gmail.com                               Nike
                                                                           service@nbashoes.net
404 www.newlebron10.org             zhang san                              jenneyzhenlin@gmail.com                               Nike
                                                                           service@nbashoes.net
405 www.galaxykobe7.com             kayla moore                            jenneyzhenlin@gmail.com                               Nike
406 www.2012hyperdunk.org           kayla moore                            jenneyzhenlin@gmail.com                               Nike
407 www.kobe8s.org                  kayla moore                            jenneyzhenlin@gmail.com                               Nike
                                                                           service@kobe8s.org
408 www.nbashoes.net                kayla moore                            jenneyzhenlin@gmail.com                               Nike
                                                                           service@nbashoes.net
409 www.hyperdunk2013.org           kayla moore                            jenneyzhenlin@gmail.com                               Nike
410 www.kdivcreamsicle.com          kayla moore                            jenneyzhenlin@gmail.com                               Nike
                                                                           service@nbashoes.net
411 www.kobe7s.org                  kayla moore                            jenneyzhenlin@gmail.com                               Nike
                                    WWW.GADGETSHEAVEN.CO.UK 02-1661-
                                    0808
412   www.kobeshark.org             kayla moore                            jenneyzhenlin@gmail.com                               Nike
413   www.lebron9elite.org          wang jie                               1783149795@qq.com                                     Nike
414   www.lebronchristmas.org       kayla moore                            jenneyzhenlin@gmail.com                               Nike
415   www.lebrons2012.com           wang jie                               1783149795@qq.com                                     Nike
416   www.penny5.com                kayla moore                            jenneyzhenlin@gmail.com                               Nike
417   www.cheapkobe.com             michael vick                           1783149795@qq.com                                     Nike
418   www.freerunscheap.net         wang jie                               1783149795@qq.com                                     Nike
419   www.jordan2013.org            wang jie                               1783149795@qq.com                                     Nike
420   www.lebron9cheap.net          kayla moore                            jenneyzhenlin@gmail.com                               Nike
                                                                           service@nbashoes.net
421   www.diamondturf1.com          kayla moore                            jenneyzhenlin@gmail.com                               Nike
422   www.cheapjordanss.org         zhang san                              jenney@gmail.com                                      Nike
423   www.jordanforsales.org        zhang san                              jenney@gmail.com                                      Nike
424   www.buywikionline.com         San Zhang                              beoltrade@hotmail.com                                 Nike
                                    Chen Jinxing                           buykicksonline@hotmail.com
                                                                           hi.pickbuys@hotmail.com
                                                                           j3e42d@outlook.com
                                                                           linda.ch26@hotmail.com
                                                                           wholesaleshoestrade@hotmail.com
425 www.hyperenforcer2013.org       zhang san                              jenneyzhenlin@gmail.com                               Nike
                                                                           service@nbashoes.net
426 www.jordanshoes-usa.com         rose chen                              service@nbashoes.net                                  Nike
427 www.cheaplebron.net             zhang san                              jenneyzhenlin@gmail.com                               Nike
                                                                           service@nbashoes.net




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428 www.airjordanforsale.org               wang jie                        1783149795@qq.com                   Nike
                                                                           service@nbashoes.net
429 www.lbjshoes.com                       michael vick                    1783149795@qq.com                   Nike
                                                                           service@nbashoes.net
430 www.kdshoess.com                       michael vick                    1783149795@qq.com                   Nike
                                                                           service@nbashoes.net
431 www.kdvshoe.org                        zhang san                       jenneyzhenlin@gmail.com             Nike
                                                                           service@nbashoes.net
432 www.cheapkdshoes.com                   michael vick                    1783149795@qq.com                   Nike
                                                                           service@nbashoes.net
433 www.kdivcolorways.com                  kayla moore                     jenneyzhenlin@gmail.com             Nike
                                                                           service@nbashoes.net
434 www.supraowen.org                      zhang san                       jenneyzhenlin@gmail.com             Nike
                                                                           service@nbashoes.net
435 www.derrickroseadizero.org             kayla moore                     jenneyzhenlin@gmail.com             Nike
                                                                           service@nbashoes.net
436   www.linda-jerseys.com                san zhang                       lindajerseys@gmail.com              Nike
437   www.cheapgalaxyfoamposites.com       michael vick                    1783149795@qq.com                   Nike
438   www.galaxyfoampositeforsale.com      michael vick                    1783149795@qq.com                   Nike
439   www.kdusashoes.com                   michael vick                    1783149795@qq.com                   Nike
440   www.newkdshoes.com                   michael vick                    1783149795@qq.com                   Nike
441   www.cheapkd5shoess.com               Zhang San                       jenneyzhenlin@gmail.com             Nike
442   www.nbashoess.org                    zhang san                       jenneyzhenlin@gmail.com             Nike
443   www.kd5forsale.org                   zhang san                       jenneyzhenlin@gmail.com             Nike
444   www.kdshoescheap.com                 kayla moore                     jenneyzhenlin@gmail.com             Nike
445   www.kobe7colorways.com               zhang san                       jenneyzhenlin@gmail.com             Nike
446   www.airjordanscheap.org              zhang san                       jenney@gmail.com                    Nike
447   www.jordansforsalecheap.org          zhang san                       jenney@gmail.com                    Nike
448   www.lindajerseys.com                 EBL*GREENSOUL OY-AUCUPSDU       lindajerseys@gmail.com              Nike
449   www.kickgogo.com                     eNom, Inc.                      support@domainname.vg               Nike
                                                                           buykicksonline@hotmail.com
                                                                           hi.pickbuys@hotmail.com
450   www.pickyourbuys.com                                                 buykicksonline@hotmail.com          Nike
451   www.crazy-supplier.com                                               buykicksonline@hotmail.com          Nike
452   www.2013jordanshoes.org              zhang san                       jenney@gmail.com                    Nike
453   www.2013thesaintsjerseys.com         Bunhon wong                     spectaclexjuc@gmail.com             Nike
                                                                           sfadf33333333333333333333@126.com
454   www.2014worldcupsoccerjerseys.us     san zhang                       lindajerseys@gmail.com              Nike / Converse
455   www.6000jerseys.com                  san zhang                       services@6000jerseys.com            Nike
456   www.airjordansfanatics.com           michael vick                    1783149795@qq.com                   Nike
457   www.by-nike23.com                    Jie Xia                         by-nikes@yahoo.cn                   Nike
458   www.chaussuresairmaxnike.com         huang huacai                    nancywill1986@hotmail.com           Nike
459   www.cheap-air-jordan.com             lin fengying                    bestonlineshop@hotmail.com          Nike
                                                                           nikecheapshoes@hotmail.com
460   www.cheapairjordanshoesforsale.org   huang huacai                    nancywill1986@hotmail.com           Nike
461   www.cheapjordansforsales.org         zhang san                       jenney@gmail.com                    Nike
462   www.cheapjordanswholesale.com        San Zhang                       beoltrade@hotmail.com               Nike
463   www.cheapkd.org                      zhang san                       jenneyzhenlin@gmail.com             Nike / Converse
464   www.cheapkdiv.net                    san zhang                       jenneyzhenlin@gmail.com             Nike / Converse
                                                                           BABAYGOGOGO@gmail.com
465   www.cheapnikeairmaxandfreerun.com    San Zhang                       zhengjf10@163.com                   Nike
466   www.greyjordanshoes.org              huang huacai                    nancywill1986@hotmail.com           Nike
467   www.jordan8sphoenixsuns.org          zhang san                       jenneyzhenlin@gmail.com             Nike
468   www.jordansshoesforcheap.org         wang jie                        1783149795@qq.com                   Nike
469   www.kevindurant6.org                 zhang san                       jenneyzhenlin@gmail.com             Nike
470   www.kobe7supreme.org                 kayla moore                     service@kobe7supreme.org            Nike
                                                                           jenneyzhenlin@gmail.com
471 www.kobe82013.com                      zhang san                       jenney123456555@gmail.com           Nike
                                                                           jenney@gmail.com
472 www.kobe8yots.com                      zhang san                       jenneyzhenlin@gmail.com             Nike
473 www.lebron2013.org                     zhang san                       jenneyzhenlin@gmail.com             Nike
474 www.lebron9dunkman.com                 wang jie                        17832154554@qq.com                  Nike
                                                                           1783149795@qq.com
475 www.lebronhyperdunks.com               san zhang                       service@lebronhyperdunks.com        Nike
                                                                           jenneyzhenlin@gmail.com
                                                                           jenneyzhehe952@gmail.com
476 www.lebronjames10shoes.org             wang jie                        service@lebronjames10shoes.org      Nike
                                                                           1783149795@qq.com
477 www.namebrand123.com.cn                xiongfei trade Co. Ltd          namebrand123@yahoo.cn               Nike
                                                                           namebrand123@hotmail.com
478 www.namebrand166.com                   lin fang                        topnike098@hotmail.com              Nike
                                                                           namebrand123@yahoo.cn               Nike / Converse
                                                                           namebrand123@hotmail.com            Nike / Converse
479   www.newjordanshoes2013.org           zhang san                       jenney@gmail.com                    Nike
480   www.nike2store.net                   san zhang                       qq123456@hotmail.com                Nike
481   www.nikeairjordanshoessale.org       huang huacai                    nancywill1986@hotmail.com           Nike
482   www.nikeairmax1-fr.info              huang huacai                    nancywill1986@hotmail.com           Nike
483   www.nikeairmaxpascherfrance.com      huang huacai                    service-2013@hotmail.com            Nike
484   www.nikefreebillig.org               San Zhang                       sfadf33333333333333333333@126.com   Nike
485   www.nikejordansforsale.com           huang huacai                    service-2013@hotmail.com            Nike
486   www.nikejordanshoes2013.com          huang huacai                    service-2013@hotmail.com            Nike
487   www.nikejordanshoes2013.org          huang huacai                    nancywill1986@hotmail.com           Nike
488   www.nikekickcoo.com                  San Zhang                       beoltrade@hotmail.com               Nike
489   www.nikeshoes.pw                     lin fengying                    nikecheapshoes@yahoo.com.cn         Nike
490   www.paschernikeairmax.info           huang huacai                    nancywill1986@hotmail.com           Nike
491   www.pickyourjerseys.org              huang huacai                    service-2013@hotmail.com            Nike
                                                                           nancywill1986@hotmail.com
492 www.ravensjerseysforsale.com           jie wang                        1783149795@qq.com                   Nike
493 www.sellairjordan23.com                Samanta Bangaree                verynike_123@ymail.com              Nike / Converse
                                                                           verynike_123@yahoo.com.cn
                                                                           cntrade168@ymail.com
                                                                           Cntrade168@yahoo.com.cn
                                                                           hy shoes@yahoo.com.cn
494 www.airmaxfanatics.com                 Moniker Privacy Services        1783149795@qq.com                   Nike
495 www.buywikisonline.com                 San Zhang                       buykicksonline@hotmail.com          Nike




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496 www.goodshoeswholesale.com         San Zhang                    service-2013@hotmail.com            Nike / Converse
                                       San Zhang                    sdaf3333333333@126.com
497 www.hot-cheap.com                  cai jincan                   verynike_123@ymail.com              Nike
                                                                    verynike_123@yahoo.com.cn
                                                                    cntrade168@ymail.com
                                                                    Cntrade168@yahoo.com.cn
                                                                    cx3139@yahoo.com.cn
                                                                    hy shoes@yahoo.com.cn
498   www.hotpunchnikefree.com         wen ben zhou                 service@hotpunchnikefree.com        Nike
499   www.lebronshoes10.org            zhang san                    jenneyzhenlin@gmail.com             Nike
500   www.sportshoesoutlet.org         San Zhang                    safdsf33333333333333@126.com        Nike
501   2013jordanshoes.org              zhang san                    jenney@gmail.com                    Nike
502   2013thesaintsjerseys.com         Bunhon wong                  spectaclexjuc@gmail.com             Nike
                                                                    sfadf33333333333333333333@126.com
503   2014worldcupsoccerjerseys.us     san zhang                    lindajerseys@gmail.com              Nike / Converse
504   6000jerseys.com                  san zhang                    services@6000jerseys.com            Nike
505   airjordansfanatics.com           michael vick                 1783149795@qq.com                   Nike
506   by-nike23.com                    Jie Xia                      by-nikes@yahoo.cn                   Nike
507   chaussuresairmaxnike.com         huang huacai                 nancywill1986@hotmail.com           Nike
508   cheap-air-jordan.com             lin fengying                 bestonlineshop@hotmail.com          Nike
                                                                    nikecheapshoes@hotmail.com
509   cheapairjordanshoesforsale.org   huang huacai                 nancywill1986@hotmail.com           Nike
510   cheapjordansforsales.org         zhang san                    jenney@gmail.com                    Nike
511   cheapjordanswholesale.com        San Zhang                    beoltrade@hotmail.com               Nike
512   cheapkd.org                      zhang san                    jenneyzhenlin@gmail.com             Nike / Converse
513   cheapkdiv.net                    san zhang                    jenneyzhenlin@gmail.com             Nike / Converse
                                                                    BABAYGOGOGO@gmail.com
514   cheapnikeairmaxandfreerun.com    San Zhang                    zhengjf10@163.com                   Nike / Converse
515   greyjordanshoes.org              huang huacai                 nancywill1986@hotmail.com           Nike
516   jordan8sphoenixsuns.org          zhang san                    jenneyzhenlin@gmail.com             Nike
517   jordansshoesforcheap.org         wang jie                     1783149795@qq.com                   Nike
518   kevindurant6.org                 zhang san                    jenneyzhenlin@gmail.com             Nike
519   kobe7supreme.org                 kayla moore                  service@kobe7supreme.org            Nike
                                                                    jenneyzhenlin@gmail.com
520   kobe82013.com                    zhang san                    jenney123456555@gmail.com           Nike
521                                                                 jenney@gmail.com                    Nike
522   kobe8yots.com                    zhang san                    jenneyzhenlin@gmail.com             Nike
523   lebron2013.org                   zhang san                    jenneyzhenlin@gmail.com             Nike
524   lebron9dunkman.com               wang jie                     17832154554@qq.com                  Nike
                                                                    1783149795@qq.com
525 lebronhyperdunks.com               san zhang                    service@lebronhyperdunks.com        Nike
                                                                    jenneyzhenlin@gmail.com
                                                                    jenneyzhehe952@gmail.com
526 lebronjames10shoes.org             wang jie                     service@lebronjames10shoes.org      Nike
                                                                    1783149795@qq.com
527 namebrand123.com.cn                xiongfei trade Co. Ltd       namebrand123@yahoo.cn               Nike
                                                                    namebrand123@hotmail.com
528 namebrand166.com                   lin fang                     topnike098@hotmail.com              Nike / Converse
                                                                    namebrand123@yahoo.cn
                                                                    namebrand123@hotmail.com
529   newjordanshoes2013.org           zhang san                    jenney@gmail.com                    Nike
530   nike2store.net                   san zhang                    qq123456@hotmail.com                Nike
531   nikeairjordanshoessale.org       huang huacai                 nancywill1986@hotmail.com           Nike
532   nikeairmax1-fr.info              huang huacai                 nancywill1986@hotmail.com           Nike
533   nikeairmaxpascherfrance.com      huang huacai                 service-2013@hotmail.com            Nike
534   nikefreebillig.org               San Zhang                    sfadf33333333333333333333@126.com   Nike
535   nikejordansforsale.com           huang huacai                 service-2013@hotmail.com            Nike
536   nikejordanshoes2013.com          huang huacai                 service-2013@hotmail.com            Nike
537   nikejordanshoes2013.org          huang huacai                 nancywill1986@hotmail.com           Nike
538   nikekickcoo.com                  San Zhang                    beoltrade@hotmail.com               Nike
539   nikeshoes.pw                     lin fengying                 nikecheapshoes@yahoo.com.cn         Nike
540   paschernikeairmax.info           huang huacai                 nancywill1986@hotmail.com           Nike
541   pickyourjerseys.org              huang huacai                 service-2013@hotmail.com            Nike
                                                                    nancywill1986@hotmail.com
542 ravensjerseysforsale.com           jie wang                     1783149795@qq.com                   Nike
543 sellairjordan23.com                Samanta Bangaree             verynike_123@ymail.com              Nike / Converse
                                                                    verynike_123@yahoo.com.cn
                                                                    cntrade168@ymail.com
                                                                    Cntrade168@yahoo.com.cn
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                                                            DEFENDANTS - GROUP K
                    Domain Name                  Name(s)                                          Email Address(es)    Affected Plaintiff
                                                                                                                         (Nike and/or
                                                                                                                          Converse)
544   www.800-shoes.com            chenyusheng                          lihaidao2002@163.com                          Nike
545   www.yes-shoe.com             yy z                                 hxtradesaler6@163.com                         Nike
546   www.nflforsalecom.com        ftyi                                 kweg63403@163.com                             Nike
547   www.ok-cheapshoes.com        xb z                                 sale@servicesaler.com                         Nike / Converse
548   www.yes-shoe.net             rtyt                                 sdertxd6@163.com                              Nike
                                   EBL*UNIVERSITY JHUG LIMITED          service@saleservice.com
                                                                        shoesale88@hotmail.com
549   www.bulk-nfl.com             cfh                                  sdertxd6@163.com                              Nike
550   www.cheapnfljerseyscom.com   ftyi                                 kweg63403@163.com                             Nike
551   www.likenfl2013.com          huik                                 kweg63403@163.com                             Nike
552   www.nflcheap800.com          huik                                 kweg63403@163.com                             Nike
553   www.nfls-need.net            sfr                                  sdertxd6@163.com                              Nike
554   www.ok-shoes.net             rtyt                                 sdertxd6@163.com                              Nike
555   www.yes2013nfl.net           sfr                                  sdertxd6@163.com                              Nike
556   www.yesbuynfl.net            sfr                                  sdertxd6@163.com                              Nike
557   www.yesgetnfl.com            sfr                                  sdertxd6@163.com                              Nike
558   www.yesgetnfl.net            sfr                                  sdertxd6@163.com                              Nike
559   www.yesshopnfl.com           sfr                                  sdertxd6@163.com                              Nike
560   www.yesshopnfl.net           sfr                                  sdertxd6@163.com                              Nike
561   bulk-nfl.com                 cfh                                  sdertxd6@163.com                              Nike
562   cheapnfljerseyscom.com       ftyi                                 kweg63403@163.com                             Nike
563   likenfl2013.com              huik                                 kweg63403@163.com                             Nike
564   nflcheap800.com              huik                                 kweg63403@163.com                             Nike
565   nfls-need.net                sfr                                  sdertxd6@163.com                              Nike
566   ok-shoes.net                 rtyt                                 sdertxd6@163.com                              Nike
567   yes2013nfl.net               sfr                                  sdertxd6@163.com                              Nike
568   yesbuynfl.net                sfr                                  sdertxd6@163.com                              Nike
569   yesgetnfl.com                sfr                                  sdertxd6@163.com                              Nike
570   yesgetnfl.net                sfr                                  sdertxd6@163.com                              Nike
571   yesshopnfl.com               sfr                                  sdertxd6@163.com                              Nike
572   yesshopnfl.net               sfr                                  sdertxd6@163.com                              Nike




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                                                                                 DEFENDANTS - GROUP L
                      Domain Name                                      Name(s)                                                 Email Address(es)    Affected Plaintiff
                                                                                                                                                      (Nike and/or
                                                                                                                                                       Converse)
573   www.for-jerseys.com                         lihao                                      jerseys@yahoo.com                                     Nike
574   www.for-jerseys.net                         Wang Haiyang                               jerseys@hotmail.com                                   Nike
575   www.nflcustomic.com                         Tian Shen                                  my.domain@foxmail.com                                 Nike
576   www.great-wholesalejersyes.net              Zheng Jiangyang                            wholesalejersyes@yahoo.com                            Nike
                                                                                             lyleqet@hotmail.com
                                                                                             service@dvjerseys.com
                                                                                             lowjerseys@hotmail.com
577   www.wholesalejerseysx.com                   Cai LiMing                                 rqb@dingdian.cn                                       Nike
578   www.cheapcustomjerseys.us                   Tianqin Ou                                 good-2@foxmail.com                                    Nike
579   www.idjerseys.com                                                                      idjerseys@gmail.com                                   Nike
580   www.collectteam.com                         Suchun Zheng                               toplinwei@yahoo.cn                                    Nike
581   www.for-jerseys.biz                         fangyong                                   winwindshoes.ca@gmail.com                             Nike
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987    jerseyswholesalecheapsuppliers.com       Cai LiMing                                 ldd@dingdian.cn                        Nike
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989    jerseyswholesalesuppliersauthentic.com   Huang XiuYing                              fdsgfdgd@qq.com                        Nike
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1180   nikickz.com                         zhang san                                 2069043802@qq.com                                    Nike / Converse
1181   nkfreerunshoes.com                  haifeng Xu                                fdsgfdgd@qq.com                                      Nike
1182   noschaussuresfr.com                 chaokevin lebron                          1309624870@qq.com                                    Nike
1183   noschaussuresfr.info                sanchun wu                                selltopbrand@yahoo.cn                                Nike
                                                                                     sell-topbrand@hotmail.com
                                                                                     noschaussuresfr.com@gmail.com
                                                                                     530267919@qq.com
1184 onsavemall.com                        shaotong qiang                            nfljersey2010@yahoo.com                              Nike
                                                                                     onsavemall@yahoo.com
1185
1186 onufoot.com                           Huang JuYing                              rephype2009@live.com                                 Nike / Converse
                                                                                     repdreammonafirst@hotmail.com
                                                                                     fdsgfdgd@qq.com
1187 premiervirtual.us                     sawyer Lin                                jerseys@stajump.net                                  Nike
1188 repcheap.ru                           Private Person                            repdavid2009@hotmail.com                             Nike / Converse
1189 repkiks.com                           WHOIS AGENT                               shoesbagonsale@hotmail.com                           Nike / Converse
                                                                                     service@shoesbagonline.com
1190 runningfreesale.co.uk                 Melvin Saunders                           service5@storelinkmail.com                           Nike
1191 shoescapsxyz.biz                      huang qiao                                2337970303@qq.com                                    Nike
1192 shoescapsxyz.com                      yang lin                                  sophieyuan3448@yahoo.com.cn                          Nike
                                                                                     shoesspring2003@hotmail.com
                                                                                     shoescapsxyz.com@gmail.com
                                                                                     shoesspring@hotmail.com
                                                                                     salesdispute@hotmail.com
1193   shoprunfree.co.uk                   huang guo                                 service5@storelinkmail.com                           Nike
1194   skosnorge.com                       zenyu lin                                 805800638@qq.com                                     Nike
1195   sneakerhome.com                     WHOIS AGENT                               Davideal2009@hotmail.com                             Nike
1196   sneakeroutletuk.com                 DOMAIN WHOIS PROTECTION SERVICE           service4@mailfor2013.com                             Nike
1197   soccerjersey365.com                 Liu Yifei                                 Yifei@Liu.cc                                         Nike
1198   soledream.ru                        Private Person                            soledream2009@hotmail.com                            Nike
1199                                                                                 Davideal2009@hotmail.com
1200   stargoaol.com                       zhiyuan dai                               jerseys-goodsusa@hotmail.com                         Nike
1201                                       zhiyuan dai                               stargoaol@yahoo.com                                  Nike
1202   thekeytrade.net                     Liu Yifei                                 Yifei@Liu.cc                                         Nike / Converse
1203   trainersforsale.co.uk               Above.com Domain Privacy                  service2@emailkoca.com                               Nike
1204   ublazer2uk.com                      DOMAIN WHOIS PROTECTION SERVICE           service3@storelinkmail.com                           Nike
1205   ukmaxonline.co.uk                   huang wensheng                            service2@storelinkmail.com                           Nike
1206                                       robbie clark                              service2@emailkoca.com
1207   wholesalejerseysoccer.com           Liu Yifei                                 Yifei@Liu.cc                                         Nike
1208   wholesalenfljerseyauthentic.com     xiaoxi huang                              nfljerseys2000@gmail.com                             Nike
                                                                                     pursesoutlet@qq.com
1209 wholesalenikeshoes.info               rose marry                                daijiawu@live.com                                    Nike
1210 yingsoccer.com                        Cai LiMing                                rqb@dingdian.cn                                      Nike

                                                                         DEFENDANTS - GROUP M
                         Domain Name                           Name(s)                                                Email Address(es)    Affected Plaintiff
                                                                                                                                             (Nike and/or
                                                                                                                                              Converse)
1211 www.nikefreerunsfactory.com           guang zhou                                gzicnet@qq.com                                       Nike
1212 www.nikefreeruns-factory.com          jingmei zhou                              bbbpppkkk@yahoo.com                                  Nike
                                           KAIDI NETWORK TECHNOLOGY
                                           SHENZHEN 51800
1213 www.nikekobe-8.com                    Rebeca Fosburgh                           lorenjin@hotmail.com                                 Nike
                                                                                     bbbpppkkk@yahoo.com
1214 www.nike-lebron10.com                 Rebeca Fosburgh                           lorenjin@hotmail.com                                 Nike
                                                                                     bbbpppkkk@yahoo.com
1215 www.airjordanfrance.com               jingmei zhou                              bbbpppkkk@yahoo.com                                  Nike
1216 www.nikefreerunsfactory.com           guang zhou                                gzicnet@qq.com                                       Nike
1217 nikekobe-8.com                        Rebeca Fosburgh                           lorenjin@hotmail.com                                 Nike




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1218 nike-lebron10.com                    Rebeca Fosburgh                          lorenjin@hotmail.com                                  Nike
                                                                                   bbbpppkkk@yahoo.com

                                                                       DEFENDANTS - GROUP N
                       Domain Name                           Name(s)                                                 Email Address(es)    Affected Plaintiff
                                                                                                                                            (Nike and/or
                                                                                                                                             Converse)
1219 www.freerunline.com                  LIN JIANG                                shellycorall@yahoo.com                                Nike
                                                                                   answer.online7@gmail.com
1220 www.freerunlinea.com                 LI PING                                  ningtie@yahoo.com                                     Nike
                                          PING LI                                  answer.online7@gmail.com
                                          Bi Ning Zhuo
1221 www.freerunstoreus.com               NAN CHEN                                 Valdiviacaa@gmail.com                                 Nike
                                                                                   answer.online7@gmail.com
1222 www.freerunzone.com                  DOMAIN WHOIS PROTECTION SERVICE          answer.online7@gmail.com                              Nike
1223 www.freerunzone.com                  WHOIS AGENT                              answer.online7@gmail.com                              Nike
1224 www.freerunstoreus.com               NAN CHEN                                 answer.online7@gmail.com                              Nike
                                                                                   Valdiviacaa@gmail.com
1225 freerunzone.com                      WHOIS AGENT                              answer.online7@gmail.com                              Nike

                                                                       DEFENDANTS - GROUP O
                       Domain Name                           Name(s)                                                 Email Address(es)    Affected Plaintiff
                                                                                                                                            (Nike and/or
                                                                                                                                             Converse)
1226 www.cheapnikeairmaxii.com            LXA clt                                  tomjayjay1986@gmail.com                               Nike
1227 www.cheapnikeairmax-mart.com         ltd for domain                           terrycn@live.cn                                       Nike
                                          Jiang Lili                               janespinach@hotmail.com
                                          Shiyi Xu                                 airmax-shop@hotmail.com
1228   www.basketballmart24.com           Shannon Bennett                          terrycn@live.cn                                       Nike
1229   www.basketballmart365.com          ltd for domain                           terrycn@live.cn                                       Nike
1230   www.cheapairjordansshoes2013.com   DNS MANAGER                              terrycn@live.cn                                       Nike
1231   www.cheapairmax12.com              Winchester Dean                          tomjayjay1986@gmail.com                               Nike
1232   www.cheapairmaxshoesale2013.com    LXA clt                                  tomjayjay1986@gmail.com                               Nike
                                                                                   soccerjerseytown@gmail.com
1233 www.cheaperjersey2013.com            Winchester Dean                          tomjayjay1986@gmail.com                               Nike
                                          DNS MANAGER                              tomjayjay1986@gmail.com
1234   www.cheapsportsjerseys2013.com     DNS MANAGER                              tomjayjay1986@gmail.com                               Nike
1235   www.nikefreeshoesmall.com          Domain Administrator                     terrycn@live.cn                                       Nike
1236   www.wheretobuysoccerjersey.net     Jack Wu                                  loveshophere@163.com                                  Nike
1237   www.2013shoesairmax.com            LXA clt                                  tomjayjay1986@gmail.com                               Nike
1238   www.cheapairjordans-mart.com       Shannon Bennett                          terrycn@live.cn                                       Nike
1239   www.cheapsoccer-mall.com           Domain Administrator                     terrycn@live.cn                                       Nike
1240   www.cheapsoccer-mart.com           Private                                                                                        Nike
1241   www.shoesnikemall.com              LXA clt                                  tomjayjay1986@gmail.com                               Nike
1242   www.soccerjerseytown.com           qingshi fang                             551907714@qq.com                                      Nike
                                                                                   soccerjerseytown@gmail.com
1243 www.thailandjerseystore.com          fang7820                                 551907714@qq.com                                      Nike
                                                                                   thailandjerseystore@hotmail.com
                                                                                   fang7820@126.com
1244   basketballmart24.com                Shannon Bennett                         terrycn@live.cn
1245   basketballmart365.com              ltd for domain                           terrycn@live.cn
1246   cheapairjordansshoes2013.com       DNS MANAGER                              terrycn@live.cn
1247   cheapairmax12.com                  Winchester Dean                          tomjayjay1986@gmail.com
1248   cheapairmaxshoesale2013.com        LXA clt                                  tomjayjay1986@gmail.com
                                                                                   soccerjerseytown@gmail.com
1249 cheaperjersey2013.com                Winchester Dean                          tomjayjay1986@gmail.com
                                          DNS MANAGER
1250 cheapsportsjerseys2013.com           DNS MANAGER
1251 nikefreeshoesmall.com                Domain Administrator                     terrycn@live.cn
1252 wheretobuysoccerjersey.net           Jack Wu                                  loveshophere@163.com

                                                                       DEFENDANTS - GROUP P
                       Domain Name                           Name(s)                                                 Email Address(es)    Affected Plaintiff
                                                                                                                                            (Nike and/or
                                                                                                                                             Converse)
1253   www.airmaxstoreuk.co.uk            Drew Pietan                              customerservice.OE@gmail.com                          Nike
1254   www.airmax90uksales.co.uk          James Douglas                                                                                  Nike
1255   www.airmaxstoreonline.co.uk        joe austin                               customerservice.OE@gmail.com                          Nike
1256   www.air2013ukshop.co.uk            Julie Lochhead                                                                                 Nike
1257   www.airmax2013ukshop.co.uk         kerry bolton                                                                                   Nike
1258   www.airmaxofficialshop.co.uk       Lauren Darke                                                                                   Nike




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                                                                         DEFENDANTS - GROUP R
                       Domain Name                             Name(s)                                               Email Address(es)          Affected Plaintiff
                                                                                                                                                  (Nike and/or
                                                                                                                                                   Converse)
1259 www.nikeairmaxcheapsale.co.uk         jfdgsfs adzgdhjdf                         nikeairmaxcheapsales.co.uk@gmail.com                      Nike
1260 www.nikeairmaxcheapsales.co.uk        lisu motol                                nikeairmaxcheapsale@gmail.com                             Nike
                                                                                     nikeairmaxcheapsales.co.uk@gmail.com
1261 www.oykununsesi.com                   haima xuan                                csj527581746@163.com                                      Nike
                                           PULU IMPORT AND EXPORT TR.                nikeairmaxcheapsale@gmail.com
1262   www.payfororder.com                 Kendrickvery
1263   www.billigenikefreerunskodk.com     WHOISGUARD PROTECTED                      billigenikefreerunskodk@gmail.com                         Nike
1264   www.nikefreerunsalesaustralia.com   ilove you                                 nikefreerunsaleservices@gmail.com                         Nike
1265   billigenikefreerunskodk.com         WHOISGUARD PROTECTED                      billigenikefreerunskodk@gmail.com                         Nike
1266   nikeairmaxcheapsales.co.uk          lisu motol                                nikeairmaxcheapsales.co.uk@gmail.com                      Nike
1267   nikefreerunsalesaustralia.com       ilove you                                 nikefreerunsaleservices@gmail.com                         Nike
1268   oykununsesi.com                     haima xuan                                csj527581746@163.com                                      Nike
1269   uncboxing.com                                                                 uncboxing@gmail.com                                       Nike
                                                                                     billigenikefreerunskodk@gmail.com
                                           haima xuan                                csj527581746@163.com

                                                                         DEFENDANTS - GROUP S
                       Domain Name                             Name(s)                                               Email Address(es)          Affected Plaintiff
                                                                                                                                                  (Nike and/or
                                                                                                                                                   Converse)
1270 www.cheapnikejerseysdeal.us           Zelda Spingarn                            tarastone828@hotmail.com                                  Nike
                                                                                     wholesalejerseyscenter@gmail.com
1271 www.cheapjerseyssupplybusiness.com    WhoisGuard Protected                      ffea0938d62041fe92081af3e5916d71.protect@whoisguard.com   Nike
                                           QUNAR LEE                                 wholesalejerseyscenter@gmail.com
                                                                                     butshopping@hotmail.com
                                                                                     ETIMESTORE2@OUTLOOK.COM
1272 www.cheapjerseysbusiness.com          WhoisGuard Protected                      wholesalejerseyscenter@gmail.com                          Nike
                                           AUSTIN GATES                              butshopping@hotmail.com
                                                                                     ETIME1STORE@OUTLOOK.COM
1273 www.nfljerseywebsite.com              Luming Luming                             servicesportjerseys@gmail.com                             Nike
                                           WWW.ALVABABY.COM BEIJING                  abuse@bizcn.com
                                                                                     2684455499@qq.com
1274 www.jerseysdeal.us                    Legal Admin                               13-61787-CIV-COHN@safenames.net                           Nike
                                                                                     wholesalejerseyscenter@gmail.com
                                                                                     butshopping@hotmail.com
1275 www.chineseunderjerseys.com           WhoisGuard Protected                      42fc309df34949699049e4dbd8fd1cff.protect@whoisguard.com   Nike
                                           GREEN BROWN                               wholesalejerseyscenter@gmail.com
                                                                                     butshopping@hotmail.com
                                                                                     YEZHONGZENG124@126.COM


1276 www.nfljerseyschinese.com             WhoisGuard Protected                      wholesalejerseyscenter@gmail.com                          Nike
                                                                                     butshopping@hotmail.com
1277 www.jerseyssupply.us                  Holly Gasser                              lawandaescobar894@hotmail.com                             Nike
                                                                                     wholesalejerseyscenter@gmail.com
                                                                                     butshopping@hotmail.com
1278 www.nflnikejerseysdeal.com                                                      wholesalejerseyscenter@gmail.com                          Nike
                                                                                     butshopping@hotmail.com
1279 www.jerseysbiz.us                     Willa Wharton                             amparochandler878@hotmail.com                             Nike
                                                                                     wholesalejerseyscenter@gmail.com
                                                                                     butshopping@hotmail.com
1280 www.jerseywholesalejerseys.us         zhou dadi                                 dadicup22@hotmail.com                                     Nike
                                                                                     wholesalejerseyscenter@gmail.com
                                                                                     butshopping@hotmail.com
                                                                                     underjerseys-anndi@hotmail.com
                                                                                     wholesalechinacenter@hotmail.com
1281 www.jerseyssalemarket.com             WhoisGuard Protected                      26ab35ff8d45450485db74c6be03207b.protect@whoisguard.com   Nike
                                           REACTIVATION PERIOD                       underjerseys@gmail.com



1282 www.wholesalejerseysbusiness.com      WhoisGuard Protected                      acb0570936eb4fe79c92833d24661196.protect@whoisguard.com   Nike
                                                                                     underjerseys@gmail.com
                                                                                     butshopping@hotmail.com
1283 www.underjerseys.us                   jack cheng                                Jerseys8899@hotmail.com                                   Nike
                                                                                     underjerseys@gmail.com
                                                                                     butshopping@hotmail.com
1284 www.nikejerseysfreeshipping.com       jack cheng                                Jerseys8899@hotmail.com                                   Nike
                                                                                     butshopping@hotmail.com
                                                                                     underjerseys@gmail.com
                                                                                     underjerseys-anndi@hotmail.com
                                                                                     wholesalechinacenter@hotmail.com
1285 www.buyjerseys.us                                                               amparochandler878@hotmail.com                             Nike
                                                                                     butshopping@hotmail.com
                                                                                     wholesalejerseyscenter@yahoo.com
1286 www.cheapjerseyschina.us.com          Protected WhoisGuard                      2cfe98bec6a34b9c8fb69dfd14e1b062.protect@whoisguard.com   Nike
                                           WhoisGuard Protected                      butshopping@hotmail.com
                                                                                     wholesaleshoppingonline@gmail.com



1287   www.buyjerseysfree.com              WhoisGuard Protected                      278600f2ac8e4d4daeaba50f35ca72cd.protect@whoisguard.com   Nike
1288   www.cheapjerseysfreemarket.com      WhoisGuard Protected                      f8c712b99d0946289411fa53c228e246.protect@whoisguard.com   Nike
1289   www.cheapjerseysmarketus.com        WhoisGuard Protected                      a88040fc30d747dd928f8bbe33728597.protect@whoisguard.com   Nike
1290   www.2013cheapjerseys.us             Zelda Spingarn                            tarastone828@hotmail.com                                  Nike
1291   www.chinajerseyscheckout.com        WhoisGuard Protected                      474b30d2be1747f3aaffd4b9ee7c4ff9.protect@whoisguard.com   Nike
1292   www.wholesalenfljerseyschina.us     jack cheng                                jerseys8899@hotmail.com                                   Nike
1293   www.discountjerseys.us              Willa Wharton                             amparochandler878@hotmail.com                             Nike
                                                                                     wholesalejerseyscenter@gmail.com
                                                                                     butshopping@hotmail.com
                                                                                     manager@discountjerseys.us




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                   1:13-cv-08012-CM-DCF  Document63-1
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1294 www.cheapgamejerseys.us               jianxian zheng                            lovegamejerseys@gmail.com                                 Nike
                                                                                     butshopping@hotmail.com
                                                                                     imlebha1985@outlook.com
1295 www.cheapsportsjerseys.us             miltongp9 miltongp9                       butshoppingonline@gmail.com                               Nike
                                                                                     butshopping@hotmail.com
                                                                                     miltongp9@hotmail.com
1296 www.chinanfljerseys.us.com            WhoisGuard Protected                      butshoppingonline@gmail.com                               Nike
1297 www.nflchinajerseys.us                Louisa Kornbergin                         butshoppingonline@gmail.com                               Nike
                                                                                     LouisaKornbergin@aol.com
1298 www.onlyjerseyswholesale.com          WHOISGUARD PROTECTED                      underjerseys@gmail.com                                    Nike
                                                                                     butshopping@hotmail.com
1299 www.sportsjerseyswholesale.us         miltongp9 miltongp9                       butshoppingonline@gmail.com                               Nike
                                                                                     butshopping@hotmail.com
                                                                                     miltongp9@hotmail.com
1300 www.cheapjerseyschina.us.com                                                    wholesaleshoppingonline@gmail.com                         Nike
                                                                                     butshopping@hotmail.com
1301 www.discountjerseys.us                Willa Wharton                             wholesalejerseyscenter@gmail.com                          Nike
                                                                                     butshopping@hotmail.com
                                                                                     manager@discountjerseys.us

1302 www.jerseysonly.us                    rgbko977 rgbko977                         wholesalechinacenter@gmail.com                            Nike
                                                                                     lovegamejerseys@gmail.com
                                                                                     butshopping@hotmail.com
                                                                                     rgbko977@hotmail.com
1303 www.nflbiz.us.com                     WhoisGuard Protected                      butshoppingonline@gmail.com                               Nike
                                                                                     butshopping@hotmail.com
1304 www.nfljerseys.us.com                 WhoisGuard Protected                      butshoppingonline@gmail.com                               Nike
                                                                                     butshopping@hotmail.com
1305 www.nfljerseyswebsite.com             WhoisGuard Protected                      wholesalejerseyscenter@gmail.com                          Nike
                                                                                     butshopping@hotmail.com
1306 www.supplyjerseys.us                  Holly Gasser                              wholesalejerseyscenter@gmail.com                          Nike
                                                                                     butshopping@hotmail.com
                                                                                     service@supplyjerseys.us
                                                                                     lawandaescobar894@hotmail.com

1307 www.wholesalecheapjerseyssupply.com   WhoisGuard Protected                      wholesalejerseyscenter@gmail.com                          Nike
                                                                                     a8e81297c8b648519e725355fd361b7c.protect@whoisguard.com
                                                                                     butshopping@hotmail.com
                                                                                     underjerseys@gmail.com
1308 cheapgamejerseys.us                   jianxian zheng                            lovegamejerseys@gmail.com                                 Nike
                                                                                     butshopping@hotmail.com
                                                                                     imlebha1985@outlook.com
1309 cheapsportsjerseys.us                 miltongp9 miltongp9                       butshoppingonline@gmail.com                               Nike
                                                                                     butshopping@hotmail.com
                                                                                     miltongp9@hotmail.com
1310 chinanfljerseys.us.com                WhoisGuard Protected                      butshoppingonline@gmail.com                               Nike
                                                                                     butshoppingonline@gmail.com
                                                                                     LouisaKornbergin@aol.com
1311 nflchinajerseys.us                    Louisa Kornbergin                         wholesalejerseyscenter@gmail.com                          Nike
                                                                                     butshopping@hotmail.com
1312 NflJerseysWebsite.com                 WhoisGuard Protected                      wholesalejerseyscenter@gmail.com                          Nike
                                                                                     butshopping@hotmail.com
1313 onlyjerseyswholesale.com              WHOISGUARD PROTECTED                      underjerseys@gmail.com                                    Nike
                                                                                     butshopping@hotmail.com
1314 sportsjerseyswholesale.us             miltongp9 miltongp9                       butshoppingonline@gmail.com                               Nike
                                                                                     butshopping@hotmail.com
                                                                                     miltongp9@hotmail.com

                                                                         DEFENDANTS - GROUP T
                      Domain Name                              Name(s)                                                  Email Address(es)       Affected Plaintiff
                                                                                                                                                  (Nike and/or
                                                                                                                                                   Converse)
1315 www.buyjordanscheaponline.com         Rene Paley                                meyerjpat@hotmail.com                                     Nike
1316 www.buyrealcheapjordans.com           Rene Paley                                meyerjpat@hotmail.com                                     Nike
                                           PWK*MEION ONLINE STORE
1317   www.fashionpay.com                  Meion Online Store                        meyerjpat@hotmail.com                                     Nike
1318   www.buyretrojordansforsale.com      Rene Paley                                meyerjpat@hotmail.com                                     Nike
1319   www.cheapjordansbuynow.com          Imogen Lockhart                           doradvca@hotmail.com                                      Nike
1320   www.cheapsauthenticjordans.com      Rene Paley                                meyerjpat@hotmail.com                                     Nike
1321   www.cheapsjordanoutlet.com          Rene Paley                                meyerjpat@hotmail.com                                     Nike
1322   www.jordansonlinestorecheap.com     Rene Paley                                meyerjpat@hotmail.com                                     Nike
1323   www.onlinebuyairjordans.com         Rene Paley                                meyerjpat@hotmail.com                                     Nike
1324   www.thejordanconcord.com            Tracy Driver                              gilmercbqwwf@hotmail.com                                  Nike
1325   www.myfashionsjordans.com           Rene Paley                                meyerjpat@hotmail.com                                     Nike
1326   www.jordanretroshoesinthebox.com    emmeli duhaime                            meyerjpat@hotmail.com                                     Nike
1327   www.thejordan4s.com                 malik davis                               malikwwf@hotmail.com                                      Nike
                                                                                     servicemaxairjordan@gmail.com
1328   www.globaljordanforsale.com         GoDaddy                                   gilmercbqwwf@hotmail.com                                  Nike
1329   www.airjordan2014sales.com          diantejohnsonjohnson                      findnewfacelook@hotmail.com                               Nike
1330   www.airjordan3infrared23.com        diantejohnsonjohnson                      findnewfacelook@hotmail.com                               Nike
1331   www.airjordan6s.com                 diantejohnsonjohnson                      findnewfacelook@hotmail.com                               Nike
1332   www.airjordan6ssale.com             diantejohnson                             findnewfacelook@hotmail.com                               Nike
1333   www.airjordanretroiv.com            Rene Paley                                meyerjpat@hotmail.com                                     Nike
1334   www.airjordans11ssale.com           diantejohnson                             FashionJordanSky@gmail.com                                Nike
                                                                                     findnewfacelook@hotmail.com
1335 www.ajgammablue11sale.com             diantejohnson                             findnewfacelook@hotmail.com                               Nike
1336 www.allnewjordans.com                 Imogen Lockhart                           doradvca@hotmail.com                                      Nike
1337 www.authenticjordan2013sale.com       diantejohnson                             findnewfacelook@hotmail.com                               Nike
                                                                                     FashionJordanSky@gmail.com
1338   www.authenticjordan2013ssale.com    Latin Malin                               findnewfacelook@hotmail.com                               Nike
1339   www.authenticjordan2014.com         diantejohnson                             findnewfacelook@hotmail.com                               Nike
1340   www.authenticjordan2014sale.com     diantejohnsonjohnson                      findnewfacelook@hotmail.com                               Nike
1341   www.authenticjordankicks2014.com    diantejohnsonjohnson                      findnewfacelook@hotmail.com                               Nike
1342   www.authenticjordansale.com         diantejohnsonjohnson                      findnewfacelook@hotmail.com                               Nike
1343   www.authenticjordansonsales.com     diantejohnson                             findnewfacelook@hotmail.com                               Nike




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1344   www.authenticsjordans2013.com         diantejohnson               findnewfacelook@hotmail.com                               Nike
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1346   www.buycheapjordansale.com            diantejohnsonjohnson        findnewfacelook@hotmail.com                               Nike
1347   www.buyjordan2013onlines.com          diantejohnson               findnewfacelook@hotmail.com                               Nike
1348   www.buyjordan2014onlinestore.com      diantejohnsonjohnson        findnewfacelook@hotmail.com                               Nike
1349   www.buyjordanonlinesales.com          diantejohnson               findnewfacelook@hotmail.com                               Nike
1350   www.buyjordans2013forsales.com        Rene Paley                  findnewfacelook@hotmail.com                               Nike
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1356   www.buyrealcheapjordans.com           Rene Paley                  meyerjpat@hotmail.com                                     Nike / Converse
1357   www.buyretrojordansforsale.com        Rene Paley                  meyerjpat@hotmail.com                                     Nike
1358   www.cheapjordan2014sale.com           diantejohnsonjohnson        findnewfacelook@hotmail.com                               Nike
1359   www.cheapjordansbuynow.com            Imogen Lockhart             doradvca@hotmail.com                                      Nike
1360   www.cheapnewjordans.com               Imogen Lockhart             doradvca@hotmail.com                                      Nike
1361   www.cheapsauthenticjordans.com        Rene Paley                  meyerjpat@hotmail.com                                     Nike
1362   www.cheapsjordanoutlet.com            Rene Paley                  meyerjpat@hotmail.com                                     Nike
1363   www.cheapzjordan.com                  Imogen Lockhart             doradvca@hotmail.com                                      Nike
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1365   www.fear4s2013.com                    diantejohnson               findnewfacelook@hotmail.com                               Nike
1366   www.firered5ssale.com                 diantejohnson               findnewfacelook@hotmail.com                               Nike
1367   www.firstlevelsportshop.com           diantejohnson               findnewfacelook@hotmail.com                               Nike
1368   www.gammablue11ssale2013.com          diantejohnson               findnewfacelook@hotmail.com                               Nike
1369   www.gammablue11ssales.com             diantejohnson               FashionJordanSky@gmail.com                                Nike
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1375   www.jordanshoesonlines.net            Rene Paley                  paley444666@yahoo.com                                     Nike
1376   www.new-jordans.com                   Imogen Lockhart             doradvca@hotmail.com                                      Nike
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1378   www.nikeairmaxs.co.uk                 Imogen Lockhart             doradvca@hotmail.com                                      Nike
1379   www.onlinebuyairjordans.com           Rene Paley                  meyerjpat@hotmail.com                                     Nike
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1390   airjordan6ssale.com                   diantejohnson               findnewfacelook@hotmail.com                               Nike
1391   airjordanretroiv.com                  Rene Paley                  meyerjpat@hotmail.com                                     Nike
1392   airjordans11ssale.com                 diantejohnson               FashionJordanSky@gmail.com                                Nike
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1393 ajgammablue11sale.com                   diantejohnson               findnewfacelook@hotmail.com                               Nike
1394 allnewjordans.com                       Imogen Lockhart             doradvca@hotmail.com                                      Nike
1395 authenticjordan2013sale.com             diantejohnson               findnewfacelook@hotmail.com                               Nike
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1396   authenticjordan2013ssale.com          Latin Malin                 findnewfacelook@hotmail.com                               Nike
1397   authenticjordan2014.com               diantejohnson               findnewfacelook@hotmail.com                               Nike
1398   authenticjordan2014sale.com           diantejohnsonjohnson        findnewfacelook@hotmail.com                               Nike
1399   authenticjordankicks2014.com          diantejohnsonjohnson        findnewfacelook@hotmail.com                               Nike
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1401   authenticjordansonsales.com           diantejohnson               findnewfacelook@hotmail.com                               Nike
1402   authenticsjordans2013.com             diantejohnson               findnewfacelook@hotmail.com                               Nike
1403   buyauthenticjordanstore2014.com       diantejohnsonjohnson        findnewfacelook@hotmail.com                               Nike
1404   buycheapjordansale.com                diantejohnsonjohnson        findnewfacelook@hotmail.com                               Nike
1405   buyjordan2013onlines.com              diantejohnson               findnewfacelook@hotmail.com                               Nike
1406   buyjordan2014onlinestore.com          diantejohnsonjohnson        findnewfacelook@hotmail.com                               Nike
1407   buyjordanonlinesales.com              diantejohnson               findnewfacelook@hotmail.com                               Nike
1408   buyjordans2013forsales.com            Rene Paley                  findnewfacelook@hotmail.com                               Nike
1409   buyjordans2013sonline.com             Latin Malin                 leisurejordankicks@gmail.comfindnewfacelook@hotmail.com   Nike
1410   buyjordanscheaponline.com             Rene Paley                  meyerjpat@hotmail.com                                     Nike
1411   buyjordansforcheaponline.com          Rene Paley                  meyerjpat@hotmail.com                                     Nike
1412   buyjordansforsale2014.com             diantejohnsonjohnson        findnewfacelook@hotmail.com                               Nike
1413   buyjordansonlinesale2014.com          diantejohnsonjohnson        findnewfacelook@hotmail.com                               Nike
1414   buyjordansonlinesales.com             Latin Malin                 findnewfacelook@hotmail.com                               Nike
1415   buyrealcheapjordans.com               Rene Paley                  meyerjpat@hotmail.com                                     Nike / Converse
1416   buyretrojordansforsale.com            Rene Paley                  meyerjpat@hotmail.com                                     Nike
1417   cheapjordan2014sale.com               diantejohnsonjohnson        findnewfacelook@hotmail.com                               Nike
1418   cheapjordansbuynow.com                Imogen Lockhart             doradvca@hotmail.com                                      Nike
1419   cheapnewjordans.com                   Imogen Lockhart             doradvca@hotmail.com                                      Nike
1420   cheapsauthenticjordans.com            Rene Paley                  meyerjpat@hotmail.com                                     Nike
1421   cheapsjordanoutlet.com                Rene Paley                  meyerjpat@hotmail.com                                     Nike
1422   cheapzjordan.com                      Imogen Lockhart             doradvca@hotmail.com                                      Nike
1423   customizedjerseysforsale.com          diantejohnson               findnewfacelook@hotmail.com                               Nike
1424   fear4s2013.com                        diantejohnson               findnewfacelook@hotmail.com                               Nike
1425   firered5ssale.com                     diantejohnson               findnewfacelook@hotmail.com                               Nike
1426   firstlevelsportshop.com               diantejohnson               findnewfacelook@hotmail.com                               Nike
1427   gammablue11ssale2013.com              diantejohnson               findnewfacelook@hotmail.com                               Nike
1428   gammablue11ssales.com                 diantejohnson               FashionJordanSky@gmail.com                                Nike
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1429 gammablue11store.com                    diantejohnsonjohnson        findnewfacelook@hotmail.com                               Nike
1430 jordan2013sonsale.com                   diantejohnson               findnewfacelook@hotmail.com                               Nike
                                                                         FashionJordanSky@gmail.com
1431 jordan6sale.com                         diantejohnsonjohnson        findnewfacelook@hotmail.com                               Nike




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1432 jordansale2014.com               diantejohnsonjohnson                    findnewfacelook@hotmail.com                        Nike
1433 jordansforreal.com               diantejohnson                           leisurejordankicks@gmail.com                       Nike
                                                                              findnewfacelook@hotmail.com
1434   jordanshoesonlines.net         Rene Paley                              paley444666@yahoo.com                              Nike
1435   new-jordans.com                Imogen Lockhart                         doradvca@hotmail.com                               Nike
1436   newjordanstore.com             Imogen Lockhart                         doradvca@hotmail.com                               Nike
1437   nikeairmaxs.co.uk              Imogen Lockhart                         doradvca@hotmail.com                               Nike
1438   onlinebuyairjordans.com        Rene Paley                              meyerjpat@hotmail.com                              Nike
1439   realjordan2013ssales.com       diantejohnson                           FashionJordanSky@gmail.com                         Nike
1440   realjordanssales.com           diantejohnson                           findnewfacelook@hotmail.com                        Nike
1441   salejordansonline.com          diantejohnson                           findnewfacelook@hotmail.com                        Nike
1442   socceronline2014.com           diantejohnson                           findnewfacelook@hotmail.com                        Nike
1443   topsportsstore.com             smith chen                              findnewfacelook@hotmail.com                        Nike

                                                                  DEFENDANTS - GROUP U
                       Domain Name                      Name(s)                                              Email Address(es)    Affected Plaintiff
                                                                                                                                    (Nike and/or
                                                                                                                                     Converse)
1444 www.authentic-jordans.us         Tim RhudY                               colepenam@gmail.com                                Nike
                                      WWW.CLOTHING.NET GUANGZHOU              lessspam42@gmail.com
1445   www.cheapjordan11bred.org      Tim RhudY                               colepenam@gmail.com                                Nike
1446   www.cheapjordan11bred.us       Tim RhudY                               colepenam@gmail.com                                Nike
1447   www.jordans13hegotgame.org     Tim RhudY                               colepenam@gmail.com                                Nike
1448   www.objordans.com              Tim RhudY                               colepenam@gmail.com                                Nike
1449   www.bred11scheap.us            Tim RhudY                               colepenam@gmail.com                                Nike
1450   www.breds11forsale.us          Tim RhudY                               colepenam@gmail.com                                Nike
1451   www.hegotgame13sale.us         Tim RhudY                               colepenam@gmail.com                                Nike
1452   www.cheapjordan11bred.org      Tim RhudY                               colepenam@gmail.com                                Nike
1453   www.authentic-jordans.us       Tim RhudY                               colepenam@gmail.com                                Nike
1454   www.cheapjordan11bred.net      Tim RhudY                               colepenam@gmail.com                                Nike
1455   www.cheapjordanbred11.com      Tim RhudY                               colepenam@gmail.com                                Nike
1456   www.cheapjordanbred11.net      Tim RhudY                               colepenam@gmail.com                                Nike
1457   www.cheapjordanbred11.org      Tim RhudY                               colepenam@gmail.com                                Nike
1458   www.cheapjordansforsales.com   Tim RhudY                               colepenam@gmail.com                                Nike
1459   www.jordan13hegotgame13s.org   Tim RhudY                               colepenam@gmail.com                                Nike
1460   www.jordan13shegotgame.net     Tim RhudY                               colepenam@gmail.com                                Nike
1461   www.jordan13shegotgame.org     Tim RhudY                               colepenam@gmail.com                                Nike
1462   www.cheapjordanbred11.us       Tim RhudY                               colepenam@gmail.com                                Nike
1463   www.jordan13hegotgame13s.us    Tim RhudY                               colepenam@gmail.com                                Nike
1464   www.jordans13hegotgame.us      Tim RhudY                               colepenam@gmail.com                                Nike
1465   cheapjordan11bred.us           Tim RhudY                               colepenam@gmail.com                                Nike
1466   jordans13hegotgame.org         Tim RhudY                               colepenam@gmail.com                                Nike
1467   objordans.com                  Tim RhudY                               colepenam@gmail.com                                Nike
1468   bred11scheap.us                Tim RhudY                               colepenam@gmail.com                                Nike
1469   breds11forsale.us              Tim RhudY                               colepenam@gmail.com                                Nike
1470   hegotgame13sale.us             Tim RhudY                               colepenam@gmail.com                                Nike
1471   cheapjordan11bred.org          Tim RhudY                               colepenam@gmail.com                                Nike
1472   authentic-jordans.us           Tim RhudY                               colepenam@gmail.com                                Nike
1473   cheapjordan11bred.net          Tim RhudY                               colepenam@gmail.com                                Nike
1474   cheapjordanbred11.com          Tim RhudY                               colepenam@gmail.com                                Nike
1475   cheapjordanbred11.net          Tim RhudY                               colepenam@gmail.com                                Nike
1476   cheapjordanbred11.org          Tim RhudY                               colepenam@gmail.com                                Nike
1477   cheapjordansforsales.com       Tim RhudY                               colepenam@gmail.com                                Nike
1478   jordan13hegotgame13s.org       Tim RhudY                               colepenam@gmail.com                                Nike
1479   jordan13shegotgame.net         Tim RhudY                               colepenam@gmail.com                                Nike
1480   jordan13shegotgame.org         Tim RhudY                               colepenam@gmail.com                                Nike
1481   cheapjordanbred11.us           Tim RhudY                               colepenam@gmail.com                                Nike
1482   jordan13hegotgame13s.us        Tim RhudY                               colepenam@gmail.com                                Nike
1483   jordans13hegotgame.us          Tim RhudY                               colepenam@gmail.com                                Nike

                                                                  DEFENDANTS - GROUP V
                       Domain Name                      Name(s)                                              Email Address(es)    Affected Plaintiff
                                                                                                                                    (Nike and/or
                                                                                                                                     Converse)
1484 www.cheaptd.com                  zheng jinhui                            topbrand-ol@hotmail.com                            Nike
                                                                              inttopshop@hotmail.com
                                                                              inttopshop1@hotmail.com
                                                                              inttopshop@yahoo.cn
1485 www.shopuq.com                   jinhui zheng                            topbrand-ol@hotmail.com                            Nike /
                                      Anne Zheng                              inttopshop@hotmail.com                             Converse
                                      Zheng Jinzhao                           inttopshop1@hotmail.com
                                      Jinhui Zheng                            inttopshop@yahoo.cn
1486 www.echeapmk.com                 zheng jinhui                            topbrand-ol@hotmail.com                            Nike
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1487 www.brandyz.com                  jinhui zheng                            enikeshop1@yahoo.com                               Nike / Converse
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1488 www.shopyny.com                  zheng jinhui                            inttopshop1@hotmail.com                            Nike / Converse
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1489 www.echeapshoes.com              ZhiXiong Huang                          sdfasdfa@net.com                                   Nike / Converse
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1490 www.echeapmk.com                 Domain Administrator                    inttopshop1@hotmail.com                            Nike
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1491 www.tradeut.com                                                          enikeshop1@yahoo.com                               Nike




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1492 www.shopuq.com                  jinhui zheng                           inttopshop1@hotmail.com                       Nike
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1493 www.tradeak.com                                                        enikeshop1@yahoo.com                          Nike
1494 www.cheapdk.com                 pin pai51                              echeapshoes@yahoo.com                         Nike / Converse
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1495 www.brandpo.com                 pin pai51                              enikeshop1@yahoo.com                          Nike
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1496 www.brandnk.com                 pin pai51                              trade381@hotmail.com                          Nike
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1497 www.shopaab.com                 pin pai51                              inttopshop@yahoo.com                          Nike
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1502 www.brandcn.ru                  private person                                                                       Nike
1503 www.brandnn.com                 pin pai51                              brand-ol@yahoo.com                            Nike
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1504 www.cheapbn.com                 pin pai51                              cheapshoesa@yahoo.cn                          Nike
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                                                                            740120070@qq.com
1505 echeapshoes.com                 ZhiXiong Huang                         sdfasdfa@net.com                              Nike / Converse
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1506 tradeak.com                                                            enikeshop1@yahoo.com                          Nike
1507 brandpo.com                     pin pai51                              enikeshop1@yahoo.com                          Nike
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1508 brandnk.com                     pin pai51                              trade381@hotmail.com                          Nike
                                                                            trade38@yahoo.cn
                                                                            trade385@hotmail.com
                                                                            trade382@hotmail.com
1509 shopaab.com                     pin pai51                              inttopshop@yahoo.com                          Nike
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1510 cheapdk.com                     pin pai51                              echeapshoes@yahoo.com                         Nike
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                                                                            740120070@qq.com
1511 cheapbn.com                     pin pai51                              cheapshoesa@aliyun.com                        Nike
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1512 shoesob.com                     pin pai51                              740120070@qq.com                              Nike
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1513 shoeseb.com                     pin pai51                              brandol@yahoo.cn                              Nike
                                                                            etopshop1@hotmail.com
                                                                            etopshop2@hotmail.com
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1514 brandnn.com                     pin pai51                              brand-ol@yahoo.com                            Nike
                                                                            brand-ol88@hotmail.com
                                                                            brand-ol66@hotmail.com
                                                                            brand-ol77@hotmail.com

                                                                DEFENDANTS - GROUP W
                       Domain Name                    Name(s)                                         Email Address(es)    Affected Plaintiff
                                                                                                                             (Nike and/or
                                                                                                                              Converse)
1515 www.airmax2013box.com           Join Lin                               linjian891022@gmail.com                       Nike
                                                                            sale@airmax2013box.com
1516 www.airmaxhyperfuse2013.com     Join Lin                               linjian891022@gmail.com                       Nike
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1517 www.max-2013.com                Join Lin                               linjian891022@gmail.com                       Nike
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1519 www.jordan11bredbox.com               Peir Junck             johnpeir@163.com                      Nike
                                                                  sneakers2013@gmail.com
1520 www.lebron10fans.com                  Nian Hua               nianhua.t@gmail.com                   Nike
                                                                  sneakers2013@gmail.com
1521 www.378037-010.com                    Nian Hua               nianhua.t@gmail.com                   Nike
                                                                  sneakers2013@gmail.com
1522 www.bred-11.com                       Nian Hua               nianhua.t@gmail.com                   Nike
                                                                  sneakers2013@gmail.com
1523 www.offerjordan4.com                  Nian Hua               nianhua.t@gmail.com                   Nike
                                                                  sneakers2013@gmail.com
1524 www.redjordan11.com                   Nian Hua               nianhua.t@gmail.com                   Nike
                                                                  sneakers2013@gmail.com
1525 www.new2013airmax.com                 Fanskel Lemuel         sneakers2013@gmail.com                Nike
1526 www.womensjordan3.com                 Join Lin               linjian891022@gmail.com               Nike
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1535   www.2013retrojordanbox.com          shinsaku Drock         shinsakuonline@hotmail.com            Nike
1536   www.2014retrojordan.com             Peir Junck             johnpeir@163.com                      Nike
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1538   www.airjordan3-firered.com          zeynab bstalvey        zeynabstalvey@gmail.com               Nike
1539   www.airjordan5-firered.com          Mabelle Weig           nikesneakersusstore@gmail.com         Nike
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1541   www.airjordan6retail.com            Mabelle Weig           nikesneakersusstore@gmail.com         Nike
1542   www.airjordangetall.com             Join Lin               linjian891022@gmail.com               Nike
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1548   www.airjordanusstore.com            Nian Hua               nianhua.t@gmail.com                   Nike
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1558   www.getjordanretro.com              zeynab bstalvey        zeynabstalvey@gmail.com               Nike
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1561   www.hotjordanretro4.com             zeynab bstalvey        customerserviceonlinenow@gmail.com    Nike
1562   www.hotjordanshoessupermarket.com   Nian Hua               hotjordanshoessupermarket@gmail.com   Nike
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1564   www.jordan11available.com           Join Lin               linjian891022@gmail.com               Nike
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1568 www.jordan11fanatics.com              Join Lin               linjian891022@gmail.com               Nike
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1622   www.jordanshoesusshopping.com      canganic kong                              lebron10basketball@gmail.com         Nike
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1632 www.nikeairmax2014new.com            canganic kong                              customerserviceonlinenow@gmail.com   Nike
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1633   www.nikeairmax90cheap.com          Marshall Matthew                           nikesneakersusstore@gmail.com        Nike
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1636   www.nikedunkfanatics.com           canganic kong                              nikesneakersusstore@gmail.com        Nike
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1647 www.retrojordaninthebox.com          shinsaku Drock                                                                  Nike
1648 www.retrosjordan13.com               john peir                                  Retrosjordan13@gmail.com             Nike
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1650   www.13-retro.com                   nicol Duchaine                             Nicolonline@hotmail.com              Nike
1651   www.2013sbdunk.com                 jesus jimenez                              Sneakers2013@gmail.com               Nike
1652   www.378037-010.com                 Nian Hua                                   Sneakers2013@gmail.com               Nike
1653   www.airmax2013box.com              Join Lin                                   Sale@airmax2013box.com               Nike
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1654 www.airmax2013boxes.com              Whois Privacy Protection Service by        Servicesonlinenow@hotmail.com        Nike
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1655 www.airmaxhyperfuse2013.com          Join Lin                                   Sneakers2013@gmail.com               Nike
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1661 www.dunkhighsneaker.com              Sale Jordaner                              Sale@dunkhighsneaker.com             Nike
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1670   www.lebronxi2014s.com             Jackson Smith          Nikesneakersusstore@gmail.com         Nike
1671   www.max-2013.com                  Join Lin               Sneakers2013@gmail.com                Nike
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1672 www.new2013airmax.com               Fanskel Lemuel         Sneakers2013@gmail.com                Nike
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1708   hotjordanretro4.com               emmeli duhaime         customerserviceonlinenow@gmail.com    Nike
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1718 jordan11release2013.com             zeynab bstalvey        zeynabstalvey@gmail.com               Nike
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1741 jordanreto2013.com               john peir                                nikesneakersusstore@gmail.com                      Nike
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1742 jordanretro11fanatics.com        Nian Hua                                 nianhua.t@gmail.com                                Nike
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1797 bred-11.com                      Peir Junck                               Sneakers2013@gmail.com                             Nike
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1799 www.cheapestlebron10.com         zhou kai                                 1939762843@qq.com                                  Nike
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